             Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 1 of 77 Page ID #:1



                  1 LUCIA E. COYOCA (SBN 128314)
                      lec@msk.com
                  2 VALENTINE A. SHALAMITSKI (SBN 236061)
                      vas@msk.com
                  3 MITCHELL SILBERBERG & KNUPP LLP
                    11377 West Olympic Boulevard
                  4 Los Angeles, CA 90064-1683
                    Telephone: (310) 312-2000
                  5 Facsimile: (310) 312-3100
                  6 Attorneys for Plaintiffs
                    Universal Cable Productions LLC and
                  7 Northern Entertainment Productions LLC
                  8
                                           UNITED STATES DISTRICT COURT
                  9
                                          CENTRAL DISTRICT OF CALIFORNIA
                 10
                                                    WESTERN DIVISION
                 11
                 12 UNIVERSAL CABLE                                CASE NO. __________
                    PRODUCTIONS LLC, a Delaware
                 13 limited liability company, and                 COMPLAINT FOR:
                    NORTHERN ENTERTAINMENT                         (1) BREACH OF INSURANCE
                 14 PRODUCTIONS LLC, a Delaware                    CONTRACT; AND
                    limited liability company,                     (2) BREACH OF IMPLIED
                 15                                                COVENANT OF GOOD FAITH
                                  Plaintiffs,                      AND FAIR DEALING
                 16
                          v.                                       DEMAND FOR JURY TRIAL
                 17
                    ATLANTIC SPECIALTY
                 18 INSURANCE COMPANY, a New
                    York insurance company,
                 19
                                  Defendant.
                 20
                 21
                 22         Plaintiffs in this action are Universal Cable Productions LLC, formerly
                 23 known as Universal Network Television LLC (“UCP”), and Northern
                 24 Entertainment Productions LLC (“Northern Entertainment”). (UCP and Northern
                 25 Entertainment are collectively referred to herein as “Plaintiffs.”) Plaintiffs, by and
                 26 through their counsel, aver as follows:
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                               1
7859534.1
                                                           COMPLAINT
             Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 2 of 77 Page ID #:2



                  1                                NATURE OF CLAIM
                  2         1.    This is an insurance coverage action by Plaintiffs against their
                  3 production insurer, Atlantic Specialty Insurance Company (“Atlantic” or
                  4 “Defendant”). In the summer of 2014, UCP was filming a new television show
                  5 “Dig” in Israel when Hamas (a group designated by the United States as a terrorist
                  6 organization since 1997) began launching rockets into Israel from the Gaza Strip,
                  7 as reported by the United States Department of State (“State Department”).1 For
                  8 the safety of cast and crew, UCP decided initially to postpone, and subsequently
                  9 move the Dig production out of Israel. UCP, through NBCUniversal Media, LLC
                 10 (“NBCUniversal”), submitted a claim to Atlantic to cover the extra expenses it and
                 11 Northern Entertainment incurred in connection with postponing and eventually
                 12 moving the production. Atlantic had a clear and unequivocal obligation under the
                 13 terms of the Motion Picture/Television Producers Portfolio Policy No. MP00163-
                 14 04 (the “Policy”) to pay these extra expenses. Despite this obligation, Atlantic
                 15 chose instead to abandon its insured at this perilous time. As NBCUniversal
                 16 scrambled to protect the physical safety and well-being of its cast and crew,
                 17 Atlantic wrongfully denied the claim, improperly contending that an exclusion for
                 18 war or warlike action (the “war exclusion”) precluded coverage.
                 19         2.    Atlantic’s denial of the claim is a breach of the Policy. The Policy
                 20 covers loss sustained as a result of extra expense incurred due to interruption,
                 21 postponement, or relocation (among things) of an Insured Production caused by
                 22 “imminent peril.” Atlantic concedes the situation in Israel constituted imminent
                 23 peril. Thus, the only question is whether there is an applicable exclusion.
                 24 Significantly, acts of terrorism are not excluded under the Extra Expense or any
                 25
                    1
                      U.S. Department of State, Foreign Terrorist Organizations (available at
                 26 http://www.state.gov/j/ct/rls/other/des/123085.htm);   U.S. Department of State,
                    Daily  Press Briefing, Washington,  DC,  July 9, 2014  (available
                 27 http://www.state.gov/r/pa/prs/dpb/2014/07/228980.htm). Unless     at
                                                                                         otherwise
    Mitchell     28 indicated, all quoted and cited sources were  last accessed on June  14, 2016.
  Silberberg &
   Knupp LLP
                                                               2
7859534.1
                                                          COMPLAINT
             Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 3 of 77 Page ID #:3



                  1 other coverage under the Policy. And, Atlantic’s position that the war exclusion
                  2 applies is contrary to the Policy’s terms, applicable law, and foreign policy of the
                  3 United States of America. In order for the exclusion to apply, under applicable
                  4 law, Atlantic must establish that the events in Israel constituted a war or war-like
                  5 activity between two sovereign or quasi-sovereign nations. Under the political
                  6 question doctrine, only the United States government can recognize a sovereign
                  7 nation or government or, conversely, designate an entity a terrorist organization.
                  8 The United States government does not recognize the Gaza Strip as a sovereign
                  9 territorial nation, and does not recognize Hamas as a sovereign government.
                 10 Rather, the United States government has officially designated Hamas as a terrorist
                 11 organization.2 Nevertheless, Atlantic has ignored the United States government
                 12 position and applicable law. It claims Hamas is a sovereign or quasi-sovereign
                 13 government over the Gaza Strip territory (even though Atlantic admits the Gaza
                 14 Strip is not a recognized sovereign nation), in a self-serving attempt to invoke the
                 15 war exclusion and avoid its coverage obligations.
                 16             3.   Tellingly, Atlantic initially admitted that an insured event under the
                 17 applicable Extra Expense coverage of the Policy had occurred and that the extra
                 18 expenses incurred in connection with the initial postponement of the Dig
                 19 production would be covered under the Policy. However, when confronted with a
                 20 large pay out on the claim for relocation costs, even though Atlantic already had
                 21 conceded that an insured event had occurred and agreed to cover postponement
                 22 costs, it retracted its prior determination and denied the claim on the basis of the
                 23 war exclusion.
                 24             4.   NBCUniversal is the named insured under the Policy, and the indirect
                 25 parent of UCP and Northern Entertainment, which are also named insureds
                 26 pursuant to the Policy terms. NBCUniversal bargained for and paid substantial
                 27
    Mitchell     28
                      2
                          Id.
  Silberberg &
   Knupp LLP
                                                                  3
7859534.1
                                                             COMPLAINT
             Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 4 of 77 Page ID #:4



                  1 premiums for the Policy so that it and its affiliated and subsidiary companies
                  2 would be covered when, like here, events beyond their control (including acts of
                  3 terrorism) affect one of their Insured Productions.
                  4         5.    Ultimately, Atlantic did not conduct an objective and fair evaluation
                  5 of the Dig claim based on the facts and circumstances giving rise to the claim, but
                  6 rather denied the claim because of the poor financial performance of the Policy and
                  7 the financial impact on Atlantic. Thus, in denying the Dig claim, Atlantic chose to
                  8 favor its own financial interests over those of its insureds, a bad faith breach of its
                  9 obligations under the Policy.
                 10                                     THE PARTIES
                 11 A.      Plaintiffs
                 12         6.    Plaintiffs UCP and Northern Entertainment are Delaware limited
                 13 liability companies, operating, inter alia, out of Universal City, California, and are
                 14 indirect subsidiaries of NBCUniversal, one of the world’s leading media and
                 15 entertainment companies. NBCUniversal is the first named insured in Item 1 of
                 16 the Declarations of the Policy. Each of UCP and Northern Entertainment is a
                 17 “Named Insured” under the definition of the term as set forth in Section I.A of the
                 18 Policy. In pertinent part Section I.A provides: “Named Insured shall mean the
                 19 first named insured as per the Declarations and any majority owned or managed
                 20 subsidiaries thereof, their respective parent and affiliated companies and or any
                 21 financially controlled or managed organization(s) and or any production company
                 22 or other entity formed or contracted by the named insured or an [sic] other
                 23 organization, entity or person(s) which the named insured has agreed to insure
                 24 contractually.”
                 25 B.      Defendant
                 26         7.    On information and belief, Atlantic is an insurance company
                 27 organized under the laws of New York, with its principal place of business in
    Mitchell     28 Minnesota. On information and belief, Atlantic is an underwriting insurance
  Silberberg &
   Knupp LLP
                                                                4
7859534.1
                                                           COMPLAINT
             Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 5 of 77 Page ID #:5



                  1 company affiliated with, controlled by, and/or owned in whole or in part by
                  2 OneBeacon Insurance Group, Ltd. (“OB”), a publicly traded company (NYSE:
                  3 OB) domiciled in Bermuda. On information and belief, Atlantic is engaged in the
                  4 business of underwriting specialized commercial insurance products which are
                  5 issued to those engaged in the entertainment industry (among others), such as the
                  6 motion picture/television production portfolio policy in question here, throughout
                  7 the United States, including California and this District. Although Atlantic is the
                  8 underwriter on the Policy, the Policy was administered by One Beacon
                  9 Entertainment, LLC (“OBE”), which Plaintiffs are informed and believe is wholly
                 10 owned by OB, either directly or indirectly.
                 11         8.    On information and belief, at all relevant times mentioned herein as
                 12 pertinent to the wrongful acts alleged herein, OBE and OB were the agents of
                 13 Atlantic and were acting within the course and scope of such agency.
                 14                            JURISDICTION AND VENUE
                 15         9.    This is a diversity lawsuit brought under 28 U.S.C. § 1332(a) and (c).
                 16 Complete diversity exists because Plaintiffs UCP and Northern Entertainment,
                 17 American limited liability companies, are both citizens of Delaware and
                 18 Pennsylvania by virtue of the citizenship of the corporations in their chain of
                 19 membership. On the other hand, Defendant Atlantic is a citizen of New York and
                 20 Minnesota. Furthermore, the amount in controversy exceeds the sum of $75,000,
                 21 exclusive of interest and costs.
                 22         10.   Personal jurisdiction exists in this District over Atlantic, and venue is
                 23 proper in this District under 28 U.S.C. § 1391(b) and (c). Among other things, on
                 24 information and belief, Atlantic conducts extensive business in this District, is
                 25 authorized to conduct business in California through the California Department of
                 26 Insurance (California Certificate of Authority 4650-8), Atlantic and/or its agents
                 27 communicated, negotiated, and contracted with NBCUniversal in connection with
    Mitchell     28 the Policy in California and this District, and Atlantic and/or its agent, OBE,
  Silberberg &
   Knupp LLP
                                                               5
7859534.1
                                                          COMPLAINT
             Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 6 of 77 Page ID #:6



                  1 communicated and negotiated with NBCUniversal in connection with the claim at
                  2 issue in California and this District.
                  3     THE INSURANCE POLICY AND THE INSURED DIG PRODUCTION
                  4         11.   UCP’s television series entitled Dig is set predominantly in Jerusalem.
                  5 Dig is about an American FBI agent based in Jerusalem whose investigation of an
                  6 American’s death in Jerusalem leads to the discovery of a two thousand year-old
                  7 conspiracy. The ten-episode season of Dig premiered in the United States in
                  8 March 2015 on the USA cable network.
                  9         12.   The series, created by award-winning Israeli director and screenwriter
                 10 Gideon Raff (who created Homeland and Tyrant) and American television
                 11 producer and screenwriter Tim Kring (who created Heroes), had been in
                 12 development for a substantial period of time prior to its premiere. As early as
                 13 about 2013, UCP announced that Dig would be set and filmed in and around
                 14 Jerusalem and Tel Aviv, and would begin production in 2014.
                 15         13.   Atlantic issued the Policy to NBCUniversal for the policy period
                 16 effective from January 11, 2014, to June 30, 2015. The Policy covers losses that
                 17 NBCUniversal and other Named Insureds, such as UCP and Northern
                 18 Entertainment, might incur associated with their television productions (among
                 19 other productions), with specific coverage provisions for risks relating to cast,
                 20 negative film, extra expense due to, inter alia, imminent peril, property, and third
                 21 party property damage losses. NBCUniversal paid a substantial premium for the
                 22 Policy, which also contains a self-insured retention.
                 23         14.   The Policy was a renewal of policies which NBCUniversal obtained
                 24 from Atlantic in prior years (and for which NBCUniversal paid millions of dollars
                 25 in premiums): i.e., Policy No. MP00163-03 (effective from January 11, 2013, to
                 26 January 11, 2014); Policy No. MP00163-02 (effective from January 11, 2012, to
                 27 January 11, 2013); Policy No. MP00163-01 (effective from January 11, 2011, to
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                6
7859534.1
                                                             COMPLAINT
             Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 7 of 77 Page ID #:7



                  1 January 11, 2012); and Policy No. MP00163-00 (effective from January 11, 2010,
                  2 to January 11, 2011).
                  3         15.   The provision of the Policy relevant here, the “Extra Expense”
                  4 coverage, covers losses associated with, among other things, unanticipated
                  5 expenses incurred in connection with the postponement and relocation of
                  6 production.
                  7         16.   The relevant provisions of the Policy provide as follows:
                  8         “I. INSURING AGREEMENT
                  9               We [Atlantic] agree to pay to you such loss (as defined in
                 10               Paragraph VII) not including loss of earnings or profit, as
                 11               you sustain by reason of such extra expense you
                 12               necessarily incur as a result of the interruption,
                 13               postponement, cancellation, relocation, curtailment or
                 14               abandonment of an Insured Production due to the
                 15               following:
                 16               1.     The loss must be a direct result of an unexpected,
                 17                      sudden or accidental occurrence entirely beyond
                 18                      your control to include: …
                 19                      g) Imminent peril, defined as certain, immediate
                 20                         and impending danger of such probability and
                 21                         severity to person or property that it would be
                 22                         unreasonable or unconscionable to ignore.
                 23                      h) Any expenses incurred to avoid a loss resulting
                 24                         from imminent peril are covered to the extent
                 25                         that they serve to avoid a loss otherwise
                 26                         covered.”
                 27 Policy, Section III – Extra Expense, § I (a true and correct copy of the Policy is
    Mitchell     28 attached hereto as Exhibit A).
  Silberberg &
   Knupp LLP
                                                                7
7859534.1
                                                           COMPLAINT
             Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 8 of 77 Page ID #:8



                  1         17.   Thus, the Policy covers all loss incurred as Extra Expense if an
                  2 Insured Production is interrupted, cancelled, postponed or relocated due to
                  3 imminent peril. While there is no express coverage provision for terrorism, and
                  4 indeed the word “terrorism” is not defined in the Policy, the Policy does cover all
                  5 Extra Expense losses that may occur as a result of “imminent peril.” In its July 28,
                  6 2014 coverage position letter, Atlantic agreed the losses UCP sustained as a result
                  7 of the acts occurring in Israel during the summer of 2014 did result from
                  8 “imminent peril” as that term is defined in Section III, the Extra Expense coverage
                  9 of the Policy.
                 10         18.   The Dig production was added as Insured Production under the Policy
                 11 in or about January 2014. Production of the Dig 90-minute pilot episode
                 12 commenced on or about June 1, 2014 and was completed on June 26, 2014. The
                 13 show then went on hiatus while pre-production and preparation for filming of the
                 14 next nine episodes occurred, with production of the next nine episodes scheduled
                 15 to begin on July 20, 2014.
                 16                     EVENTS LEADING UP TO THE CLAIM
                 17         19.   The events occurring in Israel during the summer of 2014 have been
                 18 the subject of numerous State Department reports and travel advisory warnings.
                 19 As described by the United States government, Hamas (a.k.a. Harakat
                 20 al-Muqawama al-Islamiya, or the Islamic Resistance Movement) had in the past
                 21 conducted numerous anti-Israeli attacks, “including shootings, suicide bombings,
                 22 and standoff mortar-and-rocket attacks against civilian and military targets.”3 The
                 23 United States government, currently and at all relevant times, has designated
                 24 Hamas as a foreign terrorist organization and has never recognized Hamas as a
                 25
                 26
                    3
                      U.S. Department of Treasury, U.S. Designates Five Charities Funding Hamas
                 27 and Six Senior Hamas Leaders as Terrorist Entities (available at
    Mitchell     28 https://www.treasury.gov/press-center/press-releases/Pages/js672.aspx).
  Silberberg &
   Knupp LLP
                                                              8
7859534.1
                                                          COMPLAINT
             Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 9 of 77 Page ID #:9



                  1 sovereign government.4 Moreover, the United States government does not
                  2 recognize the Gaza Strip as a sovereign territorial nation.5
                  3         20.   According to a State Department Daily Press Briefing, on or about
                  4 June 12, 2014, three Israeli “teenagers were kidnapped” with “many signs that
                  5 point to Hamas involvement.”6 On or about June 30, 2014, “the bodies of the three
                  6 kidnapped teenagers” were found, and there were reports “indicat[ing] that Hamas
                  7 was involved.”7 Shortly thereafter, according to a White House Daily Press
                  8 Briefing, Israel began taking affirmative action to protect its security interests8 and,
                  9 according to a July 9, 2014 State Department Daily Press Briefing, Hamas began
                 10 launching rockets from Gaza into Israel.9
                 11         21.   As a result of these events, when questioned about the situation in
                 12 Israel during a State Department Daily Press Briefing, the State Department
                 13 spokesperson indicated the government’s concerns about “the safety and security
                 14 of civilians”10 in and around Israel and Jerusalem, where certain Dig filming was
                 15 scheduled to take place. Thus, on or about July 11, 2014, UCP decided to
                 16 postpone production of the Dig episodes which had been scheduled to resume on
                 17
                    4
                       U.S. Department of State, Foreign Terrorist Organizations (available at
                 18 http://www.state.gov/j/ct/rls/other/des/123085.htm).
                 19 5 U.S. Department of State, Independent States in the World (available at
                    http://www.state.gov/s/inr/rls/4250.htm).
                 20 6 U.S. Department of State, Daily Press Briefing, Washington, DC, June 18, 2014
                 21 (available at http://www.state.gov/r/pa/prs/dpb/2014/06/227816.htm).
                    7
                       U.S. Department of State, Daily Press Briefing, Washington, DC, June 30, 2014
                 22 (available at http://www.state.gov/r/pa/prs/dpb/2014/06/228570.htm).
                    8
                       White House Daily Press Briefing, July 8, 2014 (available at
                 23 https://www.whitehouse.gov/the-press-office/2014/07/08/daily-briefing-press-
                 24 secretary-07082014).
                    9
                       Id. and e.g., U.S. Department of State, Daily Press Briefing, Washington, DC,
                 25 July 9, 2014 (available at http://www.state.gov/r/pa/prs/dpb/2014/07/228980.htm).
                    10
                 26 2014E.g., U.S. Department of State, Daily Press Briefing, Washington, DC, July 8,
                           (available at http://www.state.gov/r/pa/prs/dpb/2014/07/228878.htm). See
                 27 (availableWhite
                    also  The         House, Daily Briefing by the Press Secretary, July 8, 2014 (same)
                                at https://www.whitehouse.gov/the-press-office/2014/07/08/daily-
    Mitchell     28 briefing-press-secretary-07082014).
  Silberberg &
   Knupp LLP
                                                                9
7859534.1
                                                           COMPLAINT
            Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 10 of 77 Page ID #:10



                  1 July 20, 2014. The crew was alerted on that same date that production was being
                  2 “pushed,” and that their services would not be required the following week.
                  3         22.   Also on or about July 11, 2014, NBCUniversal advised OBE that due
                  4 to the circumstances and concomitant safety concerns for cast and crew members,
                  5 production of the show was being postponed. On that same date, NBCUniversal
                  6 also advised Atlantic through its agent, OBE, that should conditions in Israel
                  7 continue to deteriorate and/or not improve, UCP might be compelled to move the
                  8 Dig production to another location.
                  9         23.   While UCP would have been justified if it had moved the production
                 10 earlier or immediately due to safety concerns, UCP initially decided to postpone
                 11 the production to see if the situation would improve. At the time NBCUniversal
                 12 informed OBE of the initial postponement, OBE, as Atlantic’s agent, told
                 13 NBCUniversal that the expenses associated with the postponement would be
                 14 covered under the Extra Expense coverage of the Policy.
                 15         24.   On or about July 16, 2014, during a State Department Daily Press
                 16 Briefing, the State Department spokesperson said “right now the potential we’re
                 17 looking at is … an even greater escalation of violence” in and around Israel.11
                 18 Faced with the prospect of escalated violence, UCP decided to move the Dig
                 19 production out of Jerusalem and Israel, and NBCUniversal promptly advised OBE
                 20 of the intent to relocate the production.12 The production of Dig was ultimately
                 21 completed in Croatia and the State of New Mexico.
                 22
                    11
                       U.S. Department of State, Daily Press Briefing, Washington, DC, June 16, 2014
                 23 (available  at http://www.state.gov/r/pa/prs/dpb/2014/07/229360.htm). See also
                    The  White   House, Remarks by the President on Foreign Policy, July 16, 2014
                 24 (“Hamas continued      to fire rockets at civilians, thereby prolonging the conflict.”)
                    (available  at https://www.whitehouse.gov/the-press-office/2014/07/16/remarks-
                 25 president-foreign-policy).
                 26 12 In fact, on July 21, 2014, the State Department issued an official Travel Warning
                    advising that “U.S. citizens consider the deferral of non-essential travel to Israel
                 27 and to the West Bank” and “against any travel to the Gaza Strip.” U.S.
                    Department of State, Israel, The West Bank and Gaza Travel Warning, July 21,
    Mitchell     28 2014 (available at https://web.archive.org/web/20140724171638/
  Silberberg &
   Knupp LLP
                                                                                               (…continued)
                                                                  10
7859534.1
                                                           COMPLAINT
            Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 11 of 77 Page ID #:11



                  1         25.   The postponement and subsequent relocation of the Dig production
                  2 came at great additional expense to Plaintiffs, in an amount to be proved at trial,
                  3 but which exceeds $6.9 million. This expense falls squarely within the definition
                  4 of the Extra Expense coverage under the Policy.
                  5     ATLANTIC WRONGFULLY DENIES THE EXTRA EXPENSE CLAIM
                  6         26.   At all pertinent times, Plaintiffs through NBCUniversal properly
                  7 tendered and submitted the claim at issue to Atlantic through OBE, Atlantic’s
                  8 agent and administrator of the Policy. In addition to the discussion on July 11,
                  9 2014 referenced above in paragraph 22, on or about July 15, 2014, Aon/Albert G.
                 10 Ruben Insurance Services, Inc. (NBCUniversal’s broker) tendered the claim to
                 11 OBE as Atlantic’s agent providing notice as to the losses that Plaintiffs had
                 12 incurred or would incur in connection with the delay, postponement, and eventual
                 13 relocation of the Dig production out of Israel (the “Dig Claim”). On or about
                 14 July 16, 2014, OBE acknowledged receipt of the Dig Claim on Atlantic’s behalf.
                 15 A.      Defendant Atlantic Relies On Inapplicable Exclusions
                 16         27.   On or about July 28, 2014, Pamela Johnson of OBE responded to the
                 17 Dig Claim on Atlantic’s behalf. As indicated above in paragraph 17, Johnson
                 18 admitted that the Dig Claim constituted an “imminent peril” and therefore
                 19 triggered the Extra Expense coverage under Section III of the Policy.
                 20         28.   However, despite OBE’s earlier admission that an insured event had
                 21 occurred and the expenses associated with the postponement would be covered
                 22 under the Extra Expense coverage of the Policy, Johnson now indicated the Dig
                 23 claim was not covered because of the war exclusion (although as a “courtesy” to
                 24 NBCUniversal Atlantic would pay the initial postponement costs through July 17).
                 25
                 26
                 27 (…continued)
                    http://travel.state.gov/content/passports/english/alertswarnings/israel-travel-
    Mitchell     28 warning.html).
  Silberberg &
   Knupp LLP
                                                              11
7859534.1
                                                          COMPLAINT
            Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 12 of 77 Page ID #:12



                  1         29.    The war exclusion is set forth in the Motion Picture Television
                  2 Portfolio General Conditions, § III. That exclusion is clearly inapplicable here.
                  3 Based on controlling law, the war exclusion applies solely in the event the acts at
                  4 issue are between sovereign or quasi-sovereign nations. Here, the United States
                  5 government does not recognize Hamas as a sovereign government or the Gaza
                  6 Strip as a separate sovereign territorial nation. And, under applicable law, Hamas
                  7 is not a quasi-sovereign nation, but rather an entity that the United States
                  8 government has officially designated as a terrorist organization.
                  9         30.    Here, Atlantic concedes the losses sustained were a result of imminent
                 10 peril. If the acts involved meet the definition of a grant of coverage under the
                 11 Insuring Agreement of the Policy, then it is covered, unless an exclusion applies.
                 12 Significantly, there is no terrorism exclusion in the Policy, and indeed, the word
                 13 “terrorism” is not a defined term. Therefore, the only exclusion on which Atlantic
                 14 can (and did) use to try to justify its denial of coverage is the war exclusion.
                 15         31.    Atlantic’s unmeritorious position that it does not have to pay the Dig
                 16 Claim is a breach of the Policy terms. Atlantic is required to pay all losses
                 17 associated with the Dig Claim under the Extra Expense coverage of the Policy, and
                 18 there is no applicable exclusion. Despite NBCUniversal’s numerous requests,
                 19 however, Atlantic has failed and refused to pay the Dig Claim. Following
                 20 Atlantic’s July 28, 2014 denial of the Dig Claim, NBCUniversal requested on
                 21 numerous occasions that Atlantic reconsider its position. Atlantic, however,
                 22 repeatedly refused to change its position. Atlantic’s breach of contract forced
                 23 Plaintiffs to pay all of the expenses and costs associated with the delay,
                 24 postponement, and relocation of the production from Israel to Croatia and New
                 25 Mexico in order to complete production of the series.
                 26 B.      Defendant Atlantic Misrepresents the Terms of the Policy
                 27         32.    In addition to denying the claim based on an inapplicable exclusion,
    Mitchell     28 Atlantic also misrepresented the terms of the Policy by contending there was no
  Silberberg &
   Knupp LLP
                                                               12
7859534.1
                                                           COMPLAINT
            Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 13 of 77 Page ID #:13



                  1 coverage for acts of terrorism, relying on a wholly inapplicable endorsement. In
                  2 Johnson’s July 28, 2014 letter to NBCUniversal articulating the reasons why
                  3 Atlantic believed the claim was not covered, Johnson argued “the terrorism
                  4 coverage should not apply,” because the focus of the acts “is not the United States
                  5 or its policy” and “the U.S. Secretary of the Treasury has not certified the
                  6 [Hamas/Israel] events as acts of terrorism.”
                  7         33.    Atlantic’s position as articulated by Johnson is based on an
                  8 endorsement to the Policy titled “Coverage for Certified Acts of Terrorism; Cap on
                  9 Losses” (the “Endorsement”). In pertinent part, the Endorsement provides that
                 10 “any exclusion of terrorism in this Coverage Part or Policy … is hereby amended
                 11 to the effect that such exclusion does not apply to a ‘certified act of terrorism.’”
                 12 See Coverage for Certified Acts of Terrorism; Cap on Losses, § A. (Emphasis
                 13 added.) Since the Endorsement only applies if there is an exclusion for terrorism in
                 14 the Policy, it is inapplicable here because this Policy does not have a terrorism
                 15 exclusion.
                 16         34.    On its face it is apparent that the Endorsement does not apply here.
                 17 The Endorsement defines a “certified act of terrorism” as:
                 18         “… an act that is certified by the Secretary of Treasury, in concurrence with
                 19         the Secretary of State and the Attorney General of the United States, to be an
                 20         act of terrorism pursuant to the federal Terrorism Risk Insurance Act of
                 21         2002. The criteria contained in that act for a “certified act of terrorism”
                 22         include the following:
                 23                1.    The act resulted in aggregate losses in excess of $5 million; and
                 24                2.    The act is a violent act or an act that is dangerous to human life,
                 25                property or infrastructure and is committed by an individual or
                 26                individuals acting on behalf of any foreign person or foreign interest,
                 27                as part of an effort to coerce the civilian population of the United
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                               13
7859534.1
                                                           COMPLAINT
            Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 14 of 77 Page ID #:14



                  1               States or to influence the policy or affect the conduct of the United
                  2               States Government by coercion.”
                  3 See Policy, Endorsement titled “Coverage for Certified Acts of Terrorism; Cap on
                  4 Losses.” The purpose of the Endorsement is to cap the losses Atlantic would have
                  5 to pay that resulted from certified acts of terrorism, consistent with the Terrorism
                  6 Risk Insurance Act of 2002, which was enacted in the aftermath of 9/11. In short,
                  7 the Endorsement amends any policy exclusions for terrorism, to allow coverage for
                  8 “certified acts of terrorism.” It does not provide that only certified acts of
                  9 terrorism are covered. Moreover, since there is no terrorism exclusion in the
                 10 Policy, it is patently clear the Endorsement is inapplicable to the Dig Claim.
                 11         35.   By invoking the Endorsement to deny coverage for the Dig Claim,
                 12 Atlantic misrepresented the terms of the Policy in at least three material ways:
                 13               (a)    The Policy does not contain any exclusion for losses caused by
                 14                      terrorist acts and, therefore, the Endorsement cannot operate to
                 15                      exclude coverage, regardless of whether the Hamas/Israel
                 16                      events are “certified acts of terrorism” as defined in the Policy
                 17                      or undefined acts of terrorism;
                 18               (b)    The Endorsement expressly modifies only specific types of
                 19                      coverage listed in the Endorsement (e.g., Boiler and Machinery
                 20                      Coverage Part, Commercial Crime Coverage Form) and,
                 21                      therefore, by its express terms, the Endorsement does not
                 22                      modify or apply to the Extra Expense coverage at issue here;
                 23                      and,
                 24               (c)    The Endorsement does not provide that only “certified acts of
                 25                      terrorism” are covered under the Policy; instead, it merely caps
                 26                      Atlantic’s liability for “certified acts of terrorism” in
                 27                      accordance with the provisions of the Terrorism Risk Insurance
    Mitchell     28                      Act of 2002.
  Silberberg &
   Knupp LLP
                                                                14
7859534.1
                                                           COMPLAINT
            Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 15 of 77 Page ID #:15



                  1 C.      Defendant Atlantic Places Its Interests Over Those of Its Insureds
                  2         36.   Plaintiffs are informed and believe, and on that basis allege, that
                  3 Atlantic’s wrongful conduct as alleged herein was motivated by Atlantic’s own
                  4 financial interests and concerns, rather than Atlantic’s coverage obligations based
                  5 on the terms of the Policy.
                  6         37.   Among other things, shortly after the Dig Claim was tendered,
                  7 NBCUniversal and/or its affiliate and subsidiary companies also insured under the
                  8 Policy suffered other, unrelated losses that fell within the Policy’s scope of
                  9 coverage. The Dig Claim paired with these new claims meant that Atlantic would
                 10 be obligated to make substantial claim payments during that Policy year because
                 11 the self-insured retention had now been met.
                 12         38.   Once it became apparent Atlantic would have to pay out on the Policy
                 13 in an amount that would exceed the premiums earned from insuring NBCUniversal
                 14 over the past several years, NBCUniversal is informed and believes Atlantic made
                 15 the decision not to renew NBCUniversal’s Policy, and thus it was no longer in
                 16 Atlantic’s interest to pay any amount on the Dig Claim. Even though Atlantic had
                 17 initially agreed an insured event had occurred and that it would pay for the initial
                 18 Dig postponement costs, it changed its position and asserted the war or war related
                 19 exclusion applied to preclude coverage for the entire claim (although as a
                 20 “courtesy” it remained willing to pay six days’ worth of postponement costs). In
                 21 so doing, Atlantic chose to favor its own financial interests over those of its
                 22 insureds in bad faith breach of its obligations under the Policy.
                 23                                    FIRST CLAIM
                 24                            (Breach of Insurance Contract)
                 25         39.   Plaintiffs incorporate by reference each of the allegations set forth in
                 26 Paragraphs 1 through 38 above, as though set forth fully herein.
                 27         40.   Atlantic issued the Policy at issue effective as of January 1, 2014, to
    Mitchell     28 June 30, 2015, the material terms of which are set forth above and a copy of which
  Silberberg &
   Knupp LLP
                                                               15
7859534.1
                                                           COMPLAINT
            Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 16 of 77 Page ID #:16



                  1 is attached hereto as Exhibit A. In exchange for the Policy, all required premiums
                  2 were paid.
                  3         41.   Atlantic was obligated to pay the losses that Plaintiffs incurred as a
                  4 result of the Dig Claim under the Extra Expense coverage.
                  5         42.   Plaintiffs performed all terms, conditions, and covenants required to
                  6 be performed on their part under the Policy, except as such performance was
                  7 excused, rendered impossible, impracticable, and/or futile, by the acts and
                  8 omissions of Atlantic.
                  9         43.   At all relevant times and to the present, Atlantic has breached and
                 10 continues to breach the Policy by failing and refusing to accept and pay the Dig
                 11 Claim. Among other things, Atlantic wrongfully misinterpreted and misapplied
                 12 the war exclusion. Ignoring applicable law, Atlantic erroneously contends Hamas
                 13 is a sovereign or quasi-sovereign entity, which engaged in hostilities with Israel, a
                 14 sovereign nation, to justify its wrongful application of the “war” or “warlike
                 15 action” exclusions to the Dig Claim.
                 16         44.   As a direct and proximate result of the foregoing breaches, Plaintiffs
                 17 have suffered damages in an amount to be proved at trial, but which amount is at
                 18 least $6.9 million, for the costs and expenses Plaintiffs incurred in postponing and
                 19 relocating the Dig production out of Jerusalem and Israel, plus pre-judgment
                 20 interest thereon.
                 21                                   SECOND CLAIM
                 22           (Breach of Implied Covenant of Good Faith and Fair Dealing)
                 23         45.   Plaintiffs incorporate by reference each of the allegations set forth in
                 24 Paragraphs 1 through 44 above, as though set forth fully herein.
                 25         46.   The Policy contains an implied covenant of good faith and fair dealing
                 26 requiring Atlantic, the insurer, to act reasonably and in good faith and refrain from
                 27 any conduct that would deprive Plaintiffs, insureds under the Policy, of the benefits
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                               16
7859534.1
                                                           COMPLAINT
            Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 17 of 77 Page ID #:17



                  1 of the Policy, including Plaintiffs’ right to receive full and prompt payment of the
                  2 Extra Expense losses covered by the Policy.
                  3        47.     Plaintiffs performed all terms, conditions, and covenants to be
                  4 performed on their part under the Policy, except as such performance was excused
                  5 and/or rendered impossible, impracticable, and/or futile by the acts and omissions
                  6 of Atlantic.
                  7        48.     Atlantic failed to deal fairly and in good faith with Plaintiffs by,
                  8 among other things, misinterpreting the Policy’s terms to justify its application of
                  9 an inapplicable war exclusion, failing to evaluate the Dig Claim objectively,
                 10 misrepresenting Policy terms, and unreasonably, arbitrarily, and willfully
                 11 withholding and denying Plaintiffs the benefits provided under the Policy.
                 12        49.     Specifically, without limitation, Atlantic has engaged in the following
                 13 unreasonable, arbitrary, and/or bad faith conduct:
                 14                A.    Denying benefits due: Despite OBE’s admission that an
                 15                      insured event had occurred and the initial expenses associated
                 16                      with the postponement of the Dig production would be covered,
                 17                      Atlantic reneged, and failed and refused to pay the losses
                 18                      associated with the relocation of the Dig production, thereby
                 19                      depriving Plaintiffs of the benefit under the Policy such that if
                 20                      losses occurred, production could continue uninterrupted;
                 21                B.    Applying an inapplicable exclusion to deny the claim: Atlantic
                 22                      denied that the Dig Claim was covered under the Extra Expense
                 23                      coverage of the Policy by wrongfully claiming that the war
                 24                      exclusion applied;
                 25                C.    Misrepresenting the Policy terms: Atlantic misrepresented the
                 26                      terms of the Policy to its insureds, specifically including but not
                 27                      limited to the statements made regarding the Endorsement
    Mitchell     28                      entitled “Coverage for Certified Acts of Terrorism; Cap on
  Silberberg &
   Knupp LLP
                                                                17
7859534.1
                                                            COMPLAINT
            Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 18 of 77 Page ID #:18



                  1                Losses” in an effort to avoid its obligation to pay losses on the
                  2                Dig Claim, which also constitutes a violation of Cal. Ins. Code
                  3                § 790.03(a) and (h)(1) as unfair and deceptive acts or practices
                  4                in the business of insurance;
                  5          D.    Failing to evaluate the claim objectively: Atlantic favored its
                  6                own financial interests above those of its insureds by basing its
                  7                decision to deny the Dig Claim on, among other things, the
                  8                overall financial performance of Atlantic’s insurance
                  9                relationship with its insureds and the resulting financial impact
                 10                on Atlantic, rather than objectively evaluating the Dig Claim
                 11                based solely on the facts and circumstances giving rise to the
                 12                Claim;
                 13          E.    Interpreting the Policy and law unreasonably and arbitrarily:
                 14                Atlantic wrongfully attempted to justify its application of the
                 15                war exclusion by unreasonably and arbitrarily interpreting
                 16                applicable law and ignoring the political question doctrine, the
                 17                designation of Hamas as a terrorist organization by the United
                 18                States government, the government’s refusal to recognize
                 19                Hamas as a sovereign government or the Gaza Strip as a
                 20                sovereign state, and applicable law as to what constitutes a
                 21                quasi-sovereign entity;
                 22          F.    Failing to investigate the claim objectively and thoroughly:
                 23                Atlantic failed to conduct a thorough, fair, adequate, and
                 24                objective investigation and analysis of the Dig Claim, which
                 25                also constitutes a violation of Cal. Ins. Code § 790.03(h)(3) and
                 26                10 Cal. Code Regs. § 2695.7(d) as unfair and deceptive acts or
                 27                practices in the business of insurance; and
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                         18
7859534.1
                                                     COMPLAINT
            Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 19 of 77 Page ID #:19



                  1               G.     Failing to objectively reconsider its denial of the claim:
                  2                      Atlantic failed to objectively reconsider its denial of the Dig
                  3                      Claim despite multiple requests that it do so based on the
                  4                      political question doctrine, the pronouncements of the United
                  5                      States government as to Hamas’ status as a terrorist
                  6                      organization, the government’s refusal to recognize the Gaza
                  7                      Strip as a separate sovereign state or Hamas as a sovereign
                  8                      government, and applicable law as to what constitutes a quasi-
                  9                      sovereign entity.
                 10         50.   As a direct and proximate result of the foregoing breaches and
                 11 wrongful conduct, Plaintiffs have suffered damages in an amount to be proved at
                 12 trial, but which amount is at least $6.9 million, for the costs and expenses Plaintiffs
                 13 incurred in postponing and relocating the Dig production out of Jerusalem and
                 14 Israel, plus pre-judgment interest thereon.
                 15         51.   As a further direct and proximate result of the foregoing breaches and
                 16 wrongful conduct, Plaintiffs are entitled to recover from Atlantic the attorneys’
                 17 fees and other costs incurred by them to establish their right to receive
                 18 reimbursement for the Dig Claim as alleged herein.
                 19         52.   Plaintiffs are informed and believe, and on that basis allege, that
                 20 Atlantic’s wrongful conduct as alleged herein was done willfully and with the
                 21 deliberate intent to injure, vex, and annoy Plaintiffs, and/or in conscious disregard
                 22 of Plaintiffs’ rights so as to constitute fraud, oppression, and/or malice, thereby
                 23 entitling Plaintiffs to recover exemplary and punitive damages from Atlantic in an
                 24 amount to be determined by the trier of fact.
                 25                                          PRAYER
                 26         WHEREFORE, Plaintiffs pray for judgment against Atlantic as follows:
                 27         1.    On the First and Second Claims, for compensatory damages according
    Mitchell     28 to proof, but in no event less than $6,900,000;
  Silberberg &
   Knupp LLP
                                                                19
7859534.1
                                                             COMPLAINT
            Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 20 of 77 Page ID #:20



                  1        2.    On the Second Claim, for exemplary and punitive damages according
                  2 to proof;
                  3        3.    For attorneys’ fees and costs of suit incurred herein to compel
                  4 payment of the Policy’s benefits in accordance with law;
                  5        4.    For prejudgment interest in accordance with law;
                  6        5.    For costs of suit incurred herein; and
                  7        6.    For such other and further relief as the Court may deem just and
                  8 proper.
                  9
                 10 DATED: June 20, 2016                 LUCIA E. COYOCA
                                                         VALENTINE A. SHALAMITSKI
                 11                                      MITCHELL SILBERBERG & KNUPP LLP
                 12
                 13                                      By: s/ Lucia E. Coyoca
                 14                                           Lucia E. Coyoca
                                                              Attorneys for Plaintiffs
                 15                                           Universal Cable Productions LLC and
                                                              Northern Entertainment
                 16                                           Productions LLC

                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                             20
7859534.1
                                                         COMPLAINT
            Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 21 of 77 Page ID #:21



                  1                          DEMAND FOR JURY TRIAL
                  2      Plaintiffs demand trial by jury of all issues so triable.
                  3
                  4 DATED: June 20, 2016                 LUCIA E. COYOCA
                                                         VALENTINE A. SHALAMITSKI
                  5                                      MITCHELL SILBERBERG & KNUPP LLP
                  6
                  7                                      By: s/ Lucia E. Coyoca
                  8                                           Lucia E. Coyoca
                                                              Attorneys for Plaintiffs
                  9                                           Universal Cable Productions LLC and
                                                              Northern Entertainment
                 10                                           Productions LLC

                 11
                 12
                 13
                 14
                 15
                 16
                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                             21
7859534.1
                                                         COMPLAINT
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 22 of 77 Page ID #:22




                  EXHIBIT A
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 23 of 77 Page ID #:23

Policy Number: MP00163-04
Renewal of Number: MP00163-03


        MOTION PICTURE/TELEVISION
                                                                                     One Beacon.
                                                                                         I N S U R A N C E
                                                                                        Atlantic Specialty Insurance Company
          PRODUCERS PORTFOLIO                                                           150 Royall Street
             DECLARATIONS                                                               Canton, M A 02021-1030




Item 1. Named Insured and Mailing Address                      Agent Name and Address

NBCUniversal Media, LLC.                                       Aon/Albert G Ruben Insurance Services, Inc

30 Rockefeller Plaza, 2 nd Floor                               1533 Ventura Blvd., Suite 1200
New York, NY 10112                                             Sherman Oaks, CA 91403
                                                               NYFTZ: 2-14160

Item 2. Policy Period        From: 01-01-2014                    To: 06-30-2015
                             At 12:01AM Standard Time at the Mailing Address Shown Above

Item 3. Insured Production(s): 2012 Television Production(s)

Item 4. Estimated Period of Principal Photography:
       Start Date:                        Completion Date:                                Print Date


Item 5. Coverage                                                   Limit of Liability     Deductible     Trailing Deductible
                                                                   Each Loss              Each Loss      Each Loss
 Section             Cast                                          $    50,000,000        $ 50,000       $ 50,000
    I

 Section             Negative Film - Faulty Stock                  $    50,000,000        $ Nil          $ Nil
    II                                                             $    50,000,000        $ 50.000       $25,000

 Section             Extra Expense                                 $    10,000,000        $ 50,000       $25,000
   III

 Section             Property                                      $    10,000,000        $   5,000     $ 5,000
   IV

 Section             Third Party Property Damage                   $    10,000,000        $   10,000    $ 5,000
   V



Item 6. The policy is subject to a Self Insured Retention: $3,100,000 Aggregate
       (Includes Paid Losses and Adjustment Expenses)
       Scripted TV Productions                       $ 1,650,000
       Comcast In House Production                   $ 161,007
       Flat Charge, Strip Shows, Specials and
       Webisodes requiring property coverage only $ 40,000
       Policy Premium (see Rating Schedule)       $ 1,851,007
       Taxes, Surcharges & Fees                   $
       Total Premium                              $ 1,851,007 Deposit Premium

Item 7. Form(s) and Endorsement(s) made a part of the certificate at time of issue:



EBI MP DEC 100 (08-06)                                                                                             Page 1 of 1




                                                                                                               Ex. A           Pg. 22
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 24 of 77 Page ID #:24

Item 8. Insurance is provided against those perils and for those coverages under those sections for which a specific
        amount or limit of liability is shown in schedules incorporated herein, subject to all terms of the policy and all
        forms and endorsements made a part hereof.




Countersigned
Date:                                                By:
                                                                  Authorized Representative

                THIS POLICY TOGETHER WITH THE POLICY CONDITIONS, COVERAGE PARTS AND FORMS
                      AND ENDORSEMENTS, IF ANY, COMPLETE THE ABOVE NUMBERED POLICY




EBI MP DEC 100 (05-02)                                                                                       Page 2 of 2




                                                                                                           Ex. A        Pg. 23
   Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 25 of 77 Page ID #:25




One Beacon-
  I N S U R A N C E




                      EXECUTION OF OFFICERS' SIGNATURES


In Witness Whereof, we have caused this policy to be executed and attested, aid, if required by state law, this policy
shall not be valid unless countersigned by our authorized representative.




          { L i * -
                                                                                      44.
                Secretary                                                           President




        G 10779 09 0 1                                                                                Page 1 of 1

                                                        ARCHIVE



                                                                                                             Ex. A       Pg. 24
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 26 of 77 Page ID #:26

               THIS ENDORSEMENT CLARIFIES THE POLICY. PLEASE READ IT CAREFULLY

                                                                                           ADJ. NO.
    NAMED INSURED                                                    DATE   POLICY NUMBER
    NBCUniversal Media LLC,                                   01/01/2014    MP00163-04


   IF THIS ENDORSEMENT IS LISTED IN THE POLICY DECLARATIONS, COUNTERSIGNED BY:
   IT IS IN EFFECT FROM THE TIME COVERAGE UNDER THIS POLICY
   COMMENCES. OTHERWISE, THE EFFECTIVE DATE OF THIS
   ENDORSEMENT IS AS SHOWN ABOVE AT THE SAME TIME OR
   HOUR OF THE DAY AS THE POLICY BECAME EFFECTIVE.                 AUTHORIZED REPRESENTATIVE
   THIS ENDORSEMENT IS USED AS AN OVERFLOW FOR FIELDS ON THE DECLARATIONS PAGE NOT LARGE ENOUGH
   FOR THE NECESSARY INFORMATION AND TO LIST OPTIONAL COVERAGES.


    MPTV Producers Portfolio Declarations - MP DEC 100 (08-06)
    Signature Page - G 10779 09 01
    Schedule of Forms - ILU 003 (0589)
    Common Policy Conditions - IL 00 17 11 98
    Motion Picture Television Portfolio General Conditions NS 100 01 10
    DICE Production General Conditions Dl 200 (06 10)
    Rating Schedule and Self Insure Retention SIR 100 0110
   Cast Coverage - Section I NS 101 0110
   Broad Form Disgrace Coverage NS 109 0105
   Negative Film & Faulty Stock - Section II NS 102 0110
   Extra Expense - Section III NS 103 0110
   Animal Extra Expense NS 106 0110
   Property - Section IV NS 104 0110
   Property Animal Coverage NS 110 0110
   Third Party Property Damage - Section V MP 204 (01-05)
   Strip Show Coverage Extension NS 108 0105
   Hurricane, Tornado & Country Exclusion NS 107 0105
   Cap on Losses from Certified Acts of Terrorism IL 09 50 11 02
   Exclusion of Certain Computer Related Losses - I L 09 35 07 02
   New York Changes - Cancellation and Non Renewal - IL 02 68 01 11
   New York Changes - Fraud - IL 01 83 08




   I L U 003 (0589)




                                                                                            Ex. A     Pg. 25
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 27 of 77 Page ID #:27


                                                                                                         IL 00 17 11 98



                             COMMON POLICY CONDITIONS
 All Coverage Parts included in this policy are subject to the following conditions.

 A. Cancellation                                                       b. Give you reports on the conditions we find;
    1. The first Named Insured shown in the Declara-                      and
       tions may cancel this policy by mailing or deliv-               c. Recommend changes.
       ering to us advance written notice of cancella-              2. We are not obligated to make any inspections,
       tion.                                                           surveys, reports or recommendations and any
    2. We may cancel this policy by mailing or deliver-                such actions we do undertake relate only to in-
       ing to the first Named Insured written notice of                surability and the premiums to be charged. We
       cancellation at least:                                          do not make safety inspections. We do not un-
        a. 10 days before the effective date of cancella-              dertake to perform the duty of any person or or-
           tion if we cancel for nonpayment of premium;                ganization to provide for the health or safety of
           or                                                          workers or the public. And we do not warrant
                                                                       that conditions:
        b. 30 days before the effective date of cancella-
           tion if we cancel for any other reason.                     a. Are safe or healthful; or
    3. We will mail or deliver our notice to the first                 b. Comply with laws, regulations, codes or
       Named Insured's last mailing address known to                      standards.
       us.                                                          3. Paragraphs l . a n d 2. of this condition apply not
    4. Notice of cancellation will state the effective date            only to us, but also to any rating, advisory, rate
       of cancellation. The policy period will end on that             service or similar organization which makes in-
       date.                                                           surance inspections, surveys, reports or rec-
                                                                       ommendations.
    5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we                  4. Paragraph 2. of this condition does not apply to
       cancel, the refund will be pro rata. If the first               any inspections, surveys, reports or recommen-
       Named Insured cancels, the refund may be less                   dations we may make relative to certification,
       than pro rata. The cancellation will be effective               under state or municipal statutes, ordinances or
       even if we have not made or offered a refund.                   regulations, of boilers, pressure vessels or eleva-
                                                                       tors.
    6. If notice is mailed, proof of mailing will be suffi-
       cient proof of notice.                                   E. Premiums
B. Changes                                                         The first Named Insured shown in the Declarations:
    This policy contains all the agreements between                 1. Is responsible for the payment of all premiums;
    you and us concerning the insurance afforded. The                  and
    first Named Insured shown in the Declarations is                2. Will be the payee for any return premiums we
    authorized to make changes in the terms of this                    pay.
    policy with our consent. This policy's terms can be         F. Transfer Of Your Rights And Duties Under This
    amended or waived only by endorsement issued by                Policy
    us and made a part of this policy.
                                                                   Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                           transferred without our written consent except in the
    We may examine and audit your books and records                case of death of an individual named insured.
    as they relate to this policy at any time during the           If you die, your rights and duties will be transferred
    policy period and up to three years afterward.                 to your legal representative but only while acting
D. Inspections And Surveys                                         within the scope of duties as your legal representa-
    1. We have the right to:                                       tive. Until your legal representative is appointed,
                                                                   anyone having proper temporary custody of your
       a. Make inspections and surveys at any time;                property will have your rights and duties but only
                                                                   with respect to that property.




IL 00 17 11 98                     Copyright, Insurance Services Office, Inc., 1998                         Page 1 of 1      •

                                                                                                               Ex. A         Pg. 26
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 28 of 77 Page ID #:28


                                                                             MOTION PICTURE PORTFOLIO




                MOTION PICTURE TELEVISION PORTFOLIO
                        GENERAL CONDITIONS

 Throughout this policy the words you and your refer to the Named Insured shown in the Declarations. The words
 we, us and our refer to the Company providing this insurance.


 I. GENERAL CONDITIONS

 A. NAMED INSURED                                               F. ACCESS TO RECORDS AND EXAMINATION
 Named insured shall mean the first named insured as               UNDER OATH
 per the Declarations and any majority owned or man-           We or our representatives may examine and audit
 aged subsidiaries thereof, their respective parent and        your books and records as they relate to this policy
 affiliated companies and or any financially controlled or     at any time during the policy period or while a claim
 managed organization(s) and or any production com-             is pending.
 pany or other entity formed or contracted by the named         If requested, you must permit us to question you
 insured or an other organization, entity or person(s)         and, so far as within your power, all other interested
 which the named insured has agreed to insure contrac-         persons under oath, at such times as may be rea-
 tually.                                                       sonably required, about any matter relating to this
 Named insured includes your "employees", but only             insurance or a claim.
 within the scope of their employment by you or while           No such examination under oath or examination of
 performing duties related to the conduct of your busi-        books or documents, nor any other act by us or any
 ness.                                                         of our employees or representatives in connection
 B. TERRITORY                                                  with the investigation of any loss or claim hereunder,
 This Policy applies anywhere in the world.                    shall be deemed a waiver of any defense which we
 C. MISREPRENTATION AND FRAUD                                  might otherwise have with respect to any loss or
 This Policy is void if you knowingly concealed or misrep-     claim, but all such examinations and acts shall be
 resented any material fact or circumstance concerning         deemed to have been made or done without preju-
 this insurance, or in the case of any fraud or false          dice to our liability.
 swearing by you, whether before or after a loss. If you       G. OTHER INSURANCE
 make any false or fraudulent claim as to the amount or        If at the time of loss or damage, any other valid
 otherwise, this Policy is void as to that specific claim,     insurance is available which would apply to the loss
 and we have the right to terminate this Policy at that        or damage in the absence of this policy, the insur-
 time, and any subsequent claims by you are forfeited.         ance provided by this policy will be primary to any
 The term "you:" as used in this paragraph applies to          other policy held by you, but excess with respect to
 your Risk Management Department.                              any policy or coverage held or provided by any other
 D. ASSIGNMENT                                                 party, unless otherwise agreed by you.
 This Policy may not be assigned without our written           This policy does not apply to any production that has
 consent.                                                      been declared by you under similar insurance pro-
 E. ACTION AGAINST US                                          vided by any other insurer.
 No action against us may be brought unless you have           H. SUBROGATION
 complied with all of the material provisions of this Policy   If any person or organization to or for whom we
 and the action is started within two (2) years after the      make payment under this policy has rights to recover
 date on which the loss occurred.                              damages from another, those rights are transferred
 Nothing in this Policy gives any person or organization       to us to the extent of our payment. That person or
 any right to join us as a co-defendant in any action          organization must do everything necessary to se-
 against you to determine your liability.                      cure our rights and must do nothing after loss to
                                                               impair them. This insurance will not be prejudiced if
                                                               you have waived your right of recovery from any party
                                                               or parties in a lease for premises or rental agreement




NS 100 0110                                                                                         Page 1 of 7         •



                                                                                                      Ex. A        Pg. 27
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 29 of 77 Page ID #:29

 for property. We will honor any written contractual waiver         (3) If two or more of this policy's coverage apply
 of subrogation obligation agreed to by you prior to a loss.            to the same loss or damage, we will not pay
 I. DUTIES IN THE EVENT OF LOSS OR DAMAGE                               more than the actual amount of the loss or
 In the case of loss or damage to which this insurance                  damage.
 may apply, you must see that the following duties are              (4) We will pay you for covered loss or damage
 performed:                                                             within thirty (30) days after we received and
      (1) Police Notification - Notify the police if you be-            accept a satisfactory sworn proof of loss as
           lieve that a law may have been broken.                       we have required, or as required by law; if
      (2) Minimize Loss or Damage - Take all reasonable                 you have complied with all the terms of this
           steps to protect the property from further dam-              policy and:
           age and minimize the loss. Keep a record of                       (a) We have reached agreement with
          your expenses in doing so for consideration in                          you on the amount of loss; or
          the settlement of the claim. This will not in-                     (b) A final judgment has been entered;
          crease the limit of insurance.                                          or
      (3) Notice of Loss or Damage                                           (c) An appraisal award has been made.
                (a) Report to us or our authorized represen-        (5) We may adjust losses directly with the own-
                    tative as soon as practicable any loss or           ers of lost or damaged property, it other than
                    damage which may become a claim un-                 you. If we pay the owners, such payments
                    der this policy and provide to us a de-             will satisfy your claims against us for the
                    scription of how, when and where the                owners' property. We will not pay the own-
                    loss or damage occurred.                            ers more than their financial interest in the
      (4) Proof of Loss - File with us, or our authorized               covered property.
           representative, a detailed proof of loss signed          (6) We may elect to defend you against suits
          and sworn to by you setting forth to the best of              arising from claims of owners of property.
          your knowledge and belief the facts of the loss               We will do this at our expense.
          and the amount thereof. You must do this within           We will not be liable for any part of a loss that
          one hundred eighty (180) days as requested by             has been paid or made good by others.
           us or required by law after discovery of the loss    K. LIMITS, DEDUCTIBLE and TERMS OF
          or damage.                                               COVERAGE
      (5) Cooperation                                                   (1) When a deductible applies, the terms of
                (a) Except at your own cost, make no vol-                    this insurance, including those with re-
                    untary payments, assume no obliga-                       spect to your duties in the event of loss
                    tions, and incur no expenses without our                 or damage, apply irrespective of the ap-
                    consent, except in settlement of a cov-                  plication of the deductible amount.
                    ered claim where the amount of the                  (2) We may pay any part or all of a deducti-
                    claim is not disputed or under the policy                ble amount to effect settlement of any
                    deductible.                                              claim and, upon notification of the action
                (b) Permit us to inspect the property and                    taken; you shall promptly reimburse us
                    records supporting the loss or damage.                   for such part of the deductible amount
                    Also permit us to take samples of dam-                   as has been paid by us.
                    aged and undamaged property for in-                 (3) The Limits of Liability as stated herein
                    spection, testing and analysis, and per-                 apply per occurrence.
                    mit us to make copies from your books               (4) The Term of Coverage will apply as
                    and records.                                             stated herein to each Insured Produc-
                (c) Immediately send us copies of any de-                    tion declared hereunder.
                    mands, summonses or legal papers re-        L. PREMIUM
                    ceived in connection with the claim or          (1) The first Named Insured shown in the Decla-
                    suit.                                               rations:
                (d) Cooperate with us in the investigation or           (a) Is responsible for the payment of all
                    settlement of the claim.                                 premiums; and
 J. LOSS PAYMENT                                                        (b) Will be the payee for any return premi-
      (1) Loss or damage covered by this policy will be                      ums we pay.
          payable to you or your loss payee. We agree               (2) We will compute all premiums for this policy
          that any holder of a Certificate of Insurance in              in accordance with the rating schedule(s) at-
          which such holder is evidenced as a Loss                      tached to and made a part of this policy.
          Payee issued by us or on our behalf will be con-          (3) The premium shown in this policy is a de-
          sidered a Loss Payee subject to your legal liabil-            posit premium only unless specifically stated
          ity.                                                          otherwise. At the end of the policy period we
      (2) We will not pay you more than your financial in-              will compute the earned premium by apply-
          terest in the covered property.                               ing the rates set forth in the rating sched-
                                                                        ule^) to the final "Insurable Production
                                                                        Cost". However, the earned premium will not
 Page 2 of 7                                                                                         NS 100 0110          •




                                                                                                        Ex. A        Pg. 28
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 30 of 77 Page ID #:30

            be less than the minimum policy premium stated        stop date loss will be governed by the proper consid-
           on the rating schedule(s), regardless of the term      eration of the following factors:
           of coverage.                                                 (1) If the need to incur the stop date loss is solely
            If the earned premium is greater then the de-                   and directly the result of an insured loss, the
            posit premium, we will send a bill to the first                 stop date loss will be recoverable in full.
            Named Insured that shows the amount due and                 (2) If the need to incur the stop date loss arises in
           when it is payable. If the earned premium is less                part by reason of an insured loss and also
           than the deposit premium, we will return the ex-                 arises in part by reason of an uninsured
           cess to the first Named Insured.                                 occurrence so that it can reasonably be said
           The first Named Insured must keep records of                     that each contributed to the incidence of the
           the "Insurable Production Costs" and other in-                   stop date loss, then the extent that each so
           formation we need for premium computation,                       contributed will be determined and an
           and send us copies at such times as we may                       apportionment of the stop date loss will be
            request.                                                        made.
  M. CANCELLATION                                                       (3) If the need to incur the stop date loss is in no
       (1) The first Named Insured shown in the Declara-                    way connected with an insured loss, no part
           tions may cancel this policy by returning it to us               of the stop date loss will be recoverable.
           or our authorized representative, stating in writ-           (4) Coverage afforded by this paragraph is
            ing the future date it is to be cancelled. The pol-             subject to the proviso that the performance
           icy period will end on that date.                                contract term was sufficiently longer than your
       (2) We may cancel this policy by written notice to                   original scheduled time for completion of the
           the first Named Insured at least:                                insured production so as to allow a
                 (a) Ten (10) days before the effective date                reasonable margin of safety to cover possible
                     of cancellation if we cancel for nonpay-               delays in completing the insured production. It
                     ment of premium; or                                    is agreed that ten (10) consecutive days is a
                 (b) One hundred and twenty (120) days be-                  reasonable margin of safety for features and
                     fore the effective date of cancellation if             three (3) consecutive days is a reasonable
                     we cancel for any other reason.                        margin of safety for all other productions.
      (3) We will mail or deliver our notice to the first         P. APPRAISAL
           Named Insured's last mailing address known ot          If you and we fail to agree on the amount of loss,
           us.                                                    either one can demand that the amount of loss be set
      (4) Notice of cancellation will state the effective         by appraisal. Each party will select a competent,
           date of cancellation. The policy period will end       independent appraiser and notify the other of the
           on that date.                                          appraiser's identity within twenty (20) days of receipt of
      (5) If this policy is cancelled, we will send the first     the written demand. The two appraisers will then
           Named Insured any premium refund due. If we            select a competent, impartial umpire. If the two
           cancel, the refund will be pro rata. If the first      appraisers are unable to agree upon an umpire within
           Named Insured cancels, the refund may be less          fifteen (15) days, you or we can ask a judge of a court
           than pro rata. In the event of policy cancella-        of record in the state of your residence to select an
           tion, the policy premium will be adjusted to re-       umpire. The appraisers will then submit a written
           flect audited, actual insurable production costs       report of an agreement to us and the amount agreed
           from policy inception date to cancellation date.       upon will be the amount of the loss. If the appraisers
           Pro-rata refund will apply to all flat charges. The    fail to agree within a reasonable period of time, they
           cancellation will be effective even if we have not     will submit their difference to the umpire. Written
           made or offered a refund.                              agreement signed by any two of these three will set
      (6) If notice is mailed, proof of mailing will be suffi-    the amount of the loss. The party selecting that
           cient proof of notice.                                 appraiser will pay each appraiser. Other expenses of
 N. ABANDONMENT                                                   the appraisers and the compensation of the umpire
 There can be no abandonment of any property to us                will be paid equally by you and us.
 without our written consent.                                     Q. POLICY CHANGES
 O. STOP LOSS DATE                                                No changes may be made to this policy except by
 If as a result of delay in completing the original shooting      mutual agreement in writing.
 schedule of an insured production you incur a loss in order      R. CONFORMITY TO STATE LAW
 to honor the termination date contained in a performance         When any policy provision is in conflict with the
 contract between you and any other person and/or their           applicable law of the state in which this policy is
 respective loan out company, such loss (hereinafter re-          issued, the law of the state will apply, unless the
 ferred to as a stop date loss) would not be covered by the       provision of this policy is broader.
 provisions of this policy, but this policy will, nonetheless,    S. DUE DILIGENCE
 participate in a stop date loss to the extent that the need to   You shall use due diligence and do and concur in
 incur such loss is directly related to a loss insured under      doing all things reasonably practicable to avoid or
 the terms of this policy. The extent of our participation in a   diminish any loss or any circumstance likely to give
                                                                  rise to a loss or claim insured under this policy. This
 NS 100 0110                                                                                               Page 3 of 7          •




                                                                                                             Ex. A         Pg. 29
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 31 of 77 Page ID #:31

  policy extends to indemnify you for any additional ex-         In the event of loss or damage to property of others
  penses necessarily incurred by you to avoid or diminish        (insured hereunder) held by you for which a claim is
 such loss or claim, subject to any deductible provisions        made. We have the right to adjust such loss or dam-
 of this policy. This indemnification will not increase the      age with the owner or owners of such property. Re-
  limit of insurance, and we will not pay more for any loss      ceipt of payment by such owner or owners satisfac-
 than the amount that would have been payable had you            tion of any claim by you for which such payment has
  not incurred the additional expenses.                          been made. If legal proceedings are taken to en-
 T. INADVERTENT ERRORS                                           force a claim against you as respects any such loss
 You will not be prejudiced by any unintentional or inad-        or damage, we shall, at our expense, conduct and
 vertent omission, error or incorrect description of the         control the defense of such legal proceeding on your
 property, persons, animals or exposures insured here-           behalf of and in your name. No action of ours in
  under.                                                         such regard will increase our liability under this pol-
  U. INSPECTIONS OF SURVEYS                                      icy.
       (1) We have the right to:                                 Y. EXCHANGE RATE
                 (a) Make inspections and surveys at any         The rate of exchange applied to a loss shall be the
                     time;                                       rate as paid by you to purchase the foreign funds to
                 (b) Give you reports on the conditions we       pay a claim.
                     find; and                                   We reserve the right, for claims that we settle di-
                 (c) Recommend changes.                          rectly with third parties to this policy, to adjust the
       (2) We are not obligated to make any inspections,         claims at the prevailing exchange rate or the ex-
            surveys, reports, or recommendations, and any        change rate used to actually purchase the foreign
            such actions we do undertake related only to in-     funds to pay a covered claim.
            surability and the premiums to be charged. We
            do not make safety recommendations. We do            II. SPECIAL CONDITIONS
            not undertake to perform the duty of any person
            or organization to provide for the health or safe-   A. DEFINITIONS
            ty of workers or the public. And we do not war-               "Continuity" means costs incurred to match
            rant that conditions:                                         or maintain the Environment of the "Insured
                 (a) Are safe or healthful; or                            Production" during "Principle Photography".
                 (b) Comply with laws, regulations, codes or              The Environment includes weather, climate,
                     standards.                                           natural lighting or seasonal changes in
       (3) Paragraphs (1) and (2) of this Condition apply                 which you are filming the "Insured Produc-
            not only to us, but also to any rating, advisory,             tion".
            rate service or similar organization which makes              "Earthquake" means:
            insurance inspections, surveys, reports or rec-                    (a) Any earth movement, such as an
            ommendations.                                                          earthquake, landslide, mine subsi-
 V. RECOVERIES                                                                     dence, or earth sinking, rising or
 If either you or we recover any property after loss set-                          shifting; and
 tlement, that party must give the other prompt notice. At                     (b) Volcanic eruption, meaning the
 your option, the property will be returned to you. You                            eruption, explosion or effusion of a
 must then return to us the amount we paid to you for the                          volcano;
 property. We will pay recovery expenses and the ex-             Provided that all earth movements or volcanic erup-
 penses to repair the recovered property, subject to the         tions that occur within any seventy-two (72) hour
 Limit of Insurance.                                             period will constitute a single earth movement or
 To the extent recovery is made from such other insur-           volcanic eruption.
 ance, the deductible and/or the SIR under this policy will
 be reduced by such recovery. In no event will the de-                   "Flood" means, flood waters, surface water,
 ductible/SIR under this policy be greater than that shown               waves, tide or tidal water, overflow or rup-
 in this policy. If recovery from such other insurance is                ture of a dam, levy, dike or other surface
 greater than the deductible/SIR in this policy, then the                containment structure, storm surge, the ris-
 deductible/SIR under this policy will apply.                            ing, overflowing or breaking of boundaries of
 To the extent there is a recovery from other insurance                  natural or manmade bodies of water, or the
 when the loss exceeds the Deductible or SIR, we will                    spray from any of the foregoing, all whether
 share the recovery and costs proportionally.                            driven by wind or not.
 W. INSURANCE NOT TO BENEFIT OTHERS                                      "Insurable Production Cost" includes: all
 No person or organization, other than you, having cus-                  costs, including overhead and interest on
 tody of the property and to be paid for services shall                  loans chargeable directly to an "Insured
 benefit from this insurance. This restriction does not                  Production" or series of productions. Insur-
 apply to a person or organization, other than a common                  able Production Cost also includes any
 carrier, which is working or providing services on your                 amount of other overhead only when de-
 behalf.                                                                 clared at the time you declare an "Insured
 X. PROPERTY OF OTHERS                                                   Production" or series of productions. The fol-
 Page 4 of 7                                                                                          NS 100 0110          •




                                                                                                         Ex. A        Pg. 30
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 32 of 77 Page ID #:32

          lowing costs shall not be included in "Insurable      prequel, and their attendant merchandise. We will
          Production Cost":                                     reimburse you for the cost you incurred for the
               (a) Royalties Term Deals for Executive           rights.
                    Producer(s), Package Fee & Publicity,       C. REPORTING REQUIREMENTS
                    residuals, premiums paid for this insur-    You must declare to us on a declaration and infor-
                    ance, and personal property taxes;          mation form acceptable to us, the particulars of each
               (b) Story, scenario, music rights, and sound     and every production or series of productions under-
                    rights, except with respect to television   taken by you during the term of this policy. If Cast
                    series, specials and pilots; and            Insurance is to be provided you will report to us each
               (c) "Continuity", except when a period of        Covered Person to be insured prior to the comple-
                    suspension due to covered loss or           tion of "principal photography".
                    damage exceeds ninety (90) days.            D. HIATUS COVERAGE
               (d) Any other costs specifically stated not to        1. With respect to episodic television, coverage
                    be "Insurable Production Costs" in an                is continuous from the pilot through season
                   endorsement to this policy.                           one, and between seasons for each televi-
          Nevertheless, you have the option to include                   sion series declared to this policy, hereinafter
          these excluded costs at the time you declare an                 referred to as Hiatus Coverage, subject to all
          "Insured Production" or series of productions. In              other terms and conditions of this policy.
          that case, such costs will be included in the "In-         2. Hiatus Coverage as defined in this policy
          surable Production Cost", and                                  shall mean the period of time from the end of
          The amount of any loss or damage paid under                    coverage for the pilot or an episodic televi-
          this policy.                                                   sion series until the commencement of pre-
                                                                         production, for the series following the pilot or
     5.   "Insured Production" means a production or se-                 subsequent season.
          ries of productions that has been declared to us.              Cast coverage will be provided during the
          "Mobile Equipment" means any of the following                   hiatus period and will mirror the coverage
          types of land vehicles, including any attached                 that was provided during the previous season
          machinery or equipment:                                        for all declared productions. Cast coverage
               (a) Bulldozers, farm machinery, forklifts and             will remain as such during the term of decla-
                   other vehicles designed for use princi-               ration of the new season, until a new cast
                    pally off public roads;                              examination has been received, for a period
               (b) Vehicles that travel on crawler treads;               of 30 days from declaring an artist for the
               (c) Vehicles, whether self-propelled or not,              new season. If a covered person who re-
                    maintained primarily to provide mobility             quires a medical examination becomes phys-
                   to permanently mounted equipment, or                  ically disabled or ill resulting in a claim, and
                   maintained primarily for purposes other               such illness either occurs prior to their new
                   than the transportation of persons or                 medical examination, and results from a con-
                   cargo. However, "Mobile Equipment"                    dition that would not have routinely been dis-
                   does not include any land vehicle that is             covered during such examination or by a re-
                   subject to a compulsory or financial re-              view of the case history of that person, then
                   sponsibility law or other motor vehicle               this section shall cover such claim, subject to
                   insurance law in the state where it is li-            terms and conditions in the policy language.
                   censed or principally garaged.                    3. The limits of liability, deductibles and terms
          "Principal Photography" means the continuous                   that were in effect for the preceding pilot or
          period of time from the start date to the comple-              season will apply during the hiatus period.
         tion date you actually require to photograph or            4. Hiatus Coverage applies solely to Cast Cov-
         tape an "Insured Production", including any ne-                 erage, Property and Third Party Property
          cessary wrap time or reshoots.                                 Damage.
          "Employee" includes a leased, temporary or vol-            5. Hiatus Coverage will cease:
          unteer worker leased to you under a written                         a) On the effective date of cancellation
          agreement perform duties related to the conduct                          when this policy is cancelled or non-
         of your business.                                                         renewed by you or us;
      g    "Suit" means a civil proceeding in which dam-                      b) On commencement of pre-
         ages to which this insurance applies are al-                              production for the series following
         leged.                                                                   the pilot or subsequent season of a
 B. ABANDONMENT OF INSURED PRODUCTION                                              television series;
 Should a covered loss result in an abandonment during                        c) 180-days after the start of Hiatus; or
 the term of coverage under this section of the policy, we                    d) At such time as the pilot or television
 have the right to require that you surrender all owned or                         series is not picked up or renewed by
 licensed rights, title(s), and interest(s) in all documents,                     the network, whichever occurs first.
 underlying works, copyrights and all related material of       E. DELIVERY DATE EXPEDITING COSTS
 the insured production, except as relates to any sequel,
 NS 100 0110                                                                                           Page 5 of 7       •




                                                                                                         Ex. A         Pg. 31
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 33 of 77 Page ID #:33

With respect to all productions insured hereunder, sub-        After the Annual Aggregate Deductible has been
ject to all other terms and conditions, the definition of      exhausted, you will incur a Trailing Deductible(s) in
 loss with respect to Cast Coverage, Negative Film,            the amounts stated below as Deductibles for each
 Faulty Stock and Extra Expense is extended to include         adjusted claim and we will pay all covered claims in
the necessary production extra expenses you necessar-          excess of the Trailing Deductible including any and
 ily incur to meet an air date or delivery date of an in-      all related adjusting expense(s):
sured production subject to a sub limit of liability of
$1,000,000.                                                    TRAILING DEDUCTIBLES
 F. PRINTS AND ADVERTISING COSTS
With respect to all productions insured hereunder, sub-                  COVERAGE                TRAILING
ject to all other terms and conditions, the definition of                                        DEDUCTIBLE
loss with respect to Cast Coverage, Negative Film, Faul-
ty Stock and Extra Expense is extended to include the
                                                                        Cast                     $50,000
costs incurred for prints and advertising as have been
rendered entirely valueless, solely in the event of an                  Negative                 NIL
abandonment of an insured production, subject to a sub                  Faulty                   $25,000
limit of liability of $1,000,000                                        Extra Expense            $25,000
G. PUBLIC RELATIONS COSTS                                               Property                 $5,000
With respect to all productions insured hereunder, sub-                 Third Party Prop-
ject to all other terms and conditions, the definition of               erty Damage              $5,000
loss with respect to "Disgrace" and or "Violent Death"                  ALL OTHER EX-
under Cast Insurance is extended to include the costs to                TENSIONS                 $50,000
hire a third party public relations firm, law firm or crisis
management firm for the specific purpose to minimize
potential harm to you arising from a situation or occur-
rence involving the Disgrace or Violent Death of an
insured cast member, subject to a sub-limit of liability of
$250,000.


H. DEDUCTIBLES, ANNUAL AGGREGATE DE-
DUCTIBLE and TRAILING DEDUCTIBLES                              I. CLAIMS ADMINISTRATION
     Coverage afforded under this policy is provided sub-
    ject to the following terms and conditions:                All claims must be reported to:
  A. Deductibles
   1. You will incur the deductibles as stated in the policy   Entertainment Brokers International /OneBeacon
   on all covered loss before a loss accrues to the An-        Insurance Company Claims Department
   nual Aggregate Deductible or we pay a loss:                 1100 Glendon Ave. Suite 900
   2. The total of the adjusted claim amounts and adjust-      Los Angeles, CA 90024
   ing expenses that exceed the deductible(s) will accrue      Phone: 781-332-8480
  to the Annual Aggregate Deductible.                          marevalo@onebeacon.com
  B. Annual Aggregate Deductible
The annual aggregate self insured retention is                 III. EXCLUSIONS APPLICABLE TO ALL SEC-
$3,100,000                                                     TIONS OF THIS POLICY
For "Insured Production(s)" declared to us during the
policy term an Annual Aggregate Deductible for the             This policy does not insure against loss or damage
policy term of $3,100,000 applies subject to the follow-       caused directly or indirectly by:
ing:                                                               1. War, including undeclared or civil war; or
          All adjusted claim amounts approved by us that           2. Warlike action by a military force, including
          you incur over the deductible amounts stated                 action in hindering or defending against an
          herein will accrue to the Annual Aggregate De-               actual or expected attack, by any govern-
          ductible;                                                    ment, sovereign or other authority using mili-
          At such time as the Annual Aggregate Deducti-                tary personnel or other agents; or
          b l e ^ ) has been exhausted, the deductible             3. Insurrection, rebellion, revolution, usurped
          shown on the Declarations Page or within the                 power, or action taken by governmental au-
          policy will change to the Trailing Deductible(s)             thority in hindering or defending against any
          stated herein for each adjusted claim and for all            of these. Such loss or damage is excluded
          subsequently adjusted claims for that "Insured               regardless of any other cause or event that
          Production" or annual period of declared pro-                contributes concurrently or in any sequence
          ductions.                                                    to the loss.
   C. Trailing Deductible(s)                                       4. Any weapon of war including atomic fission
                                                                       or radioactive force, whether in time of
                                                                       peace or war;
Page 6 of 7                                                                                         NS 100 0110       •




                                                                                                          Ex. A        Pg. 32
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 34 of 77 Page ID #:34

    5.   Nuclear reaction or radiation, or radioactive con-
         tamination from any other cause. But if nuclear
         reaction or radiation, or radioactive contamina-
         tion results in fire, we will pay for the direct loss
         or damage caused by that fire if the fire would
         be covered under this policy.
         Risks of contraband or illegal transportation of
         trade.
         Violation of any Law or Statute, or any actual
         dishonest, fraudulent, criminal or malicious act
         committed by you, your employees, including
         any judicial injunction or action for injunctive re-
         lief.
         Any uninsured event occurring before, concur-
         rently with or after the happening of an insured
         event, which directly or indirectly causes or in
         any way contributes to cause or increase a loss
         under this policy; but only        with respect to
         that portion of any such loss caused by or con-
         tributed to by the uninsured event, unless the
         uninsured event would not have been a factor
         had such insured event never occurred.




 NS 100 0110                                                          Page 7 of 7    •




                                                                       Ex. A        Pg. 33
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 35 of 77 Page ID #:35


                                                                                   DICE PRODUCERS PORTFOLIO
                                                                                                 Dl 200 (06-10)




       DICE PRODUCERS PORTFOLIO POLICY CONDITIONS
 Throughout this policy, "you" and "your" refer to the Named Insured shown in the Declarations. The words "we",
 "us" and "our" refer to the Company providing this insurance.
 Other words and phrases that appear in quotation marks have special meaning.
 The following conditions, exclusions and definitions apply in addition to the applicable Additional Conditions,
 Additional Exclusions and Additional Definitions in the DICE Producers Portfolio Coverage Forms.




 I.   LOSS CONDITIONS                                                been made or done without prejudice to our
                                                                     liability.
 a.   Abandonment                                               c.   Appraisal
      (1) Abandonment of Property                                    If you and we fail to agree on the value of the
          There can be no abandonment of any                         property or the amount of loss, either may make
          property to us without our written consent.                written demand for an appraisal of the loss. In
                                                                     this event, each party will select a competent,
      (2) Abandonment of an "Insured Production"                     independent appraiser and notify the other party
          Should a covered loss or damage result in                  of the appraiser's identity within twenty (20) days
          abandonment of an "Insured Production"                     after receipt of the written demand. The two
          during the policy period, under any                        appraisers will then select a competent, impartial
          Coverage of this policy, we have the right to              umpire. If they are unable to agree upon an
          require that you surrender all owned or                    umpire within fifteen (15) days, you or we can
          licensed rights, titles and interests in all               ask a judge of a court of record in the state of
          documents, underlying works, copyrights                    your residence to select an umpire. The
          and all related material of the "Insured                   appraisers will state separately the value of the
          Production". If we exercise our right, we are              property and amount of loss. If they fail to agree
          not obligated to pay any loss or damage                    within a reasonable time, they will submit their
          covered under this policy until you comply                 differences to the umpire. Written agreement
          with these requirements.                                   signed by any two of these three shall be
                                                                     binding. Each party will pay its chosen appraiser
 b.   Access To Records And Examination Under                        and equally bear the other expenses of the
      Oath                                                           appraisal and umpire.
      We or our representatives may examine and
      audit your books and records as they relate to                 If there is an appraisal, we will still retain our
      this policy at any time during the policy period or            right to deny the claim.
      while a claim is pending.                                d.    Deductible
      If requested, you must permit us to question you               (1) When a deductible applies, the terms of this
      and, so far as within your power, all other                        insurance, including those with respect to
      interested persons under oath, at such times as                    your duties in the event of loss or damage,
      may be reasonably required, about any matter                       apply irrespective of the application of the
      relating to this insurance or a claim.                             deductible amount.
      No such examination under oath or examination                  (2) We may pay any part or all of a deductible
      of books or documents, nor any other act by us                     amount to effect settlement of any claim
      or any of our employees or representatives in                      and, upon notification of the action taken,
      connection with the investigation of any loss or                   you shall promptly reimburse us for such
      claim hereunder, shall be deemed a waiver of                       part of the deductible amount as has been
      any defense which we might otherwise have                          paid by us.
      with respect to any loss or claim, but all such
      examinations and acts shall be deemed to have



Dl 200 (06-10)                                                                                                Page 1 of 6    •



                                                                                                                Ex. A       Pg. 34
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 36 of 77 Page ID #:36


 e.   Due Diligence Clause                                            (c) Immediately send us copies of any
      You shall use due diligence and do and concur                       demands, summonses or legal papers
      in doing all things reasonably practicable to                       received in connection with the claim or
      avoid or diminish any loss or any circumstance                      suit.
      likely to give rise to a loss or claim insured under            (d) Cooperate with us in the investigation or
      this policy. This policy extends to indemnify you                   settlement of the claim.
      for any additional expenses necessarily incurred       g.   Loss Payment
      by you to avoid or diminish such loss or claim,
      subject to any deductible provisions of this                (1) Loss or damage covered by this policy will
      policy. This indemnification will not increase the              be payable to you or your loss payee.
      limit of insurance, and we will not pay more for                We agree that any holder of a Certificate of
      any loss than the amount that would have been                   Insurance issued by us or on our behalf will
      payable had you not incurred the additional                     be considered a Loss Payee, subject to your
      expenses.                                                       legal liability.
 f.   Duties In The Event of Loss Or Damage                       (2) We will not pay you more than your financial
      In case of a loss or damage to which this                       interest in the covered property.
      insurance may apply, you must see that the                  (3) If two or more of this policy's coverages
      following duties are performed:                                 apply to the same loss or damage, we will
      (1) Police Notification - Notify the police if a law            not pay more than the actual amount of the
          may have been broken.                                       loss or damage.

      (2) Minimize Loss or Damage - Take all                      (4) We will pay you for covered loss or damage
          reasonable steps to protect the property and                within thirty (30) days after we receive and
          Covered Persons from further damage and                     accept a satisfactory sworn proof of loss, if
          minimize the loss. Keep a record of your                    you have complied with all the terms of this
          expenses in doing so for consideration in the               policy and:
          settlement of the claim. This will not                      (a) We have reached agreement with you
          increase the limit of insurance.                                on the amount of loss;
      (3) Notice of Loss or Damage                                    (b) A final judgment has been entered; or
          (a) Report as soon as practicable to us or                  (c) An appraisal award has been made.
              our authorized representative any loss or
                                                                  (5) We may adjust losses directly with the
              damage which may become a claim
                                                                      owners of lost or damaged property, if other
              under this policy. Include a description of
                                                                      than you. If we pay the owners, such
              the property or loss involved.
                                                                      payments will satisfy your claims against us
          (b) As soon as possible, give us a                          for the owners' property. We will not pay the
              description of how, when and where the                  owners more than their financial interest in
              loss or damage occurred.                                the covered property.
      (4) Proof of Loss - File with us, or our authorized         (6) We may elect to defend you against suits
          representative, a detailed proof of loss signed             arising from claims of owners of property.
          and sworn to by you setting forth to the best               We will do this at our expense.
          of your knowledge and belief the facts of the           We will not be liable for any part of a loss that
          loss and the amount thereof. You must do                has been paid or made good by others.
          this within one hundred eighty (180) days
          after discovery of the loss or damage.             h.   Other Insurance

      (5) Cooperation                                             If at the time of loss or damage any other
                                                                  insurance is available, which would apply to the
          (a) Except at your own cost, make no                    loss or damage in the absence of this policy, the
              voluntary payments, assume no                       insurance provided by this policy shall apply as
              obligations, and incur no expenses                  excess insurance over the other insurance.
              without our consent.
                                                             i.   Recoveries
          (b) Permit us to inspect the property and
              records proving the loss or damage.                 If either you or we recover any property after
                                                                  loss settlement, that party must give the other
              Also permit us to take samples of                   prompt notice. At your option, the property will
              damaged and undamaged property for                  be returned to you. You must then return to us
              inspection, testing and analysis, and               the amount we paid to you for the property. We
              permit us to make copies from your                  will pay recovery expenses and the expenses to
              books and records.                                  repair the recovered property, subject to the
                                                                  Limit of Insurance.
Dl 200 (06-10)                                                                                           Page 2 of 6    •



                                                                                                           Ex. A       Pg. 35
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 37 of 77 Page ID #:37


 j.    Subrogation                                                  any material fact or circumstances concerning
       If any person or organization to or for whom we              this insurance, by you or any other insured, at
       make payment under this policy has rights to                 any time. If you make any false or fraudulent
       recover damages from another, those rights are               claim as to amount or otherwise, this policy is
       transferred to us to the extent of our payment.              void as to that specific claim and we have the
       That person or organization must do everything               right to terminate this policy at that time, and any
       necessary to secure our rights and must do                   subsequent claims by you are forfeited.
       nothing after loss to impair them.                      d.   Conformity to State Law
 k.    Exchange Rate                                                When any policy provision is in conflict with the
       The rate of exchange applied to a loss shall be              applicable law of the State in which this policy is
       the rate as paid by you to purchase the foreign              issued, the law of the State shall apply unless
       funds. We reserve the right for claims that we               this policy is broader.
       settle directly with third parties to this policy, to   e.   Inspections and Surveys
       adjust the claims at the prevailing exchange rate            (1) We have the right to:
       or the exchange rate used to actually purchase
       the foreign funds.                                               (a) Make inspections and surveys at any
                                                                            time;
                                                                        (b) Give you reports on the conditions we
 II.   GENERAL CONDITIONS                                                   find; and
 a.    Assignment                                                       (c) Recommend changes.
       This policy may not be assigned or transferred               (2) We are not obligated to make any
       without our written consent.                                     inspections, surveys, reports or
 b.    Cancellation                                                     recommendations, and any such actions we
       (1) The first Named Insured shown in the                         do undertake relate only to insurability and
           Declarations may cancel this policy by                       the premiums to be charged. We do not
           returning it to us or our authorized                         make safety recommendations. We do not
           representative, stating in writing the future                undertake to perform the duty of any person
           date it is to be cancelled. The policy period                or organization to provide for the health or
           will end on that date.                                       safety of workers or the public. And we do
                                                                        not warrant that conditions:
       (2) We may cancel this policy by written notice
           to the first Named Insured at least:                         (a) Are safe or healthful; or

           (a) Ten (10) days before the effective date                  (b) Comply with laws, regulations, codes or
               of cancellation if we cancel for                             standards.
               nonpayment of premium; or                            (3) Paragraphs (1) and (2) of this Condition
           (b) Thirty (30) days before the effective date               apply not only to us, but also to any rating,
               of cancellation if we cancel for any other               advisory, rate service or similar organization
               reason.                                                  which makes insurance inspections,
                                                                        surveys, reports or recommendations.
       (3) We will mail or deliver our notice to the first
           Named Insured's last mailing address                f.   Insurance Not to Benefit Others
           known to us.                                             No person or organization, other than you,
       (4) Notice of cancellation will state the effective          having custody of the property and to be paid for
           date of cancellation. The policy period will             services shall benefit from this insurance. This
           end on that date.                                        restriction does not apply to a person or
                                                                    organization, other than a common carrier, who
       (5) If this policy is cancelled, we will send the            is working on your behalf under the terms of a
           first Named Insured any premium refund                   contract.
           due. If we cancel, the refund will be pro rata.
           If the first Named Insured cancels, the             g.   Legal Action Against Us
           refund may be less than pro rata. The                    No one may bring a legal action against us
           cancellation will be effective even if we have           under this policy unless there has been full
           not made or offered a refund.                            compliance with all the terms of this policy and
       (6) If notice is mailed, proof of mailing will be            the action is brought within one (1) year after the
                                                                    occurrence causing the loss or damage.
           sufficient proof of notice.
                                                                    No person or organization has a right under this
c.     Concealment, Misrepresentation or Fraud
                                                                    policy to join us as a party or otherwise bring us
       This policy is void in any case of fraud,                    into any action to determine the liability of you or
       intentional concealment or misrepresentation of              any other insured.
Dl 200 (06-10)                                                                                             Page 3 of 6     •



                                                                                                             Ex. A         Pg. 36
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 38 of 77 Page ID #:38


 h.   Policy Changes                                               The first Named Insured must keep records
      This policy contains all of the agreements                   of the "Gross Production Costs" and other
      between you and us concerning the insurance                  information we need for premium
                                                                   computation, and send us copies at such
      afforded. No changes may be made in this
                                                                   times as we may request.
      policy except by us in writing.
 i.   Territory                                           c.   Premises Protection

      This policy applies anywhere in the world.               As a condition of this insurance, you are
                                                               required to maintain the protective safeguards
 j.   Inadvertent Error Clause                                 that you represented were in effect at the time of
      You shall not be prejudiced by an unintentional          the attachment of this insurance. Failure to
      or inadvertent omission, error or incorrect              maintain such protective safeguards will release
      description of the property insured hereunder,           us from all obligations under this policy to the
      provided notice be given to us and corrections           extent that a loss is suffered or increased by that
      made as soon as practicable after discovery of           failure.
      any such error or omission.                         d.   Stop Date Loss
 k.   Liberalization Clause                                    A "Stop Date Loss" is a loss you necessarily
      If we adopt any provision which would broaden            incur because of a delay in completing the
      the coverage under this policy without additional        original shooting schedule of an "Insured
      premium within 90 days prior to or during the            Production" that will otherwise prevent you from
      policy period, the broadened coverage will               honoring the termination date to which you have
      immediately apply to this policy.                        agreed in a written performance contract or
                                                               agreement for persons or property.

 III. SPECIAL CONDITIONS                                       This policy does not insure against loss or
                                                               damage caused by or resulting from a "Stop
 a.   Policy Period                                            Date Loss" unless the need to incur the "Stop
      We cover loss or damage commencing during                Date Loss" directly prevents or reduces loss or
      the policy period stated on the Coverage Forms           damage to which this insurance applies. In that
      attached to and made a part of this policy.              case only, coverage will apply to a "Stop Date
                                                               Loss", subject to the following conditions:
 b.   Premium
                                                               (1) If you necessarily incur the "Stop Date Loss"
      (1) The first Named Insured shown in the
                                                                   solely and directly as a result of loss or
          Declarations:
                                                                   damage to which this insurance applies, the
          (a) Is responsible for the payment of all                "Stop Date Loss" will be recoverable, subject
              premiums; and                                        to the applicable limit of insurance, any
          (b) Will be the payee for any return                     applicable deductible provisions, and all
              premiums we pay.                                     other terms and conditions of this policy.
      (2) We will compute all premiums for this policy         (2) If you necessarily incur the "Stop Date Loss"
          in accordance with the rating schedule(s)                partly as a result of loss or damage to which
          attached to and made a part of this policy.              this insurance applies and partly as a result
                                                                   of uninsured loss or damage, then an
      (3) The premium shown in this policy is a
                                                                   apportionment of the "Stop Date Loss" will
          deposit premium only unless specifically
                                                                   be made.
          stated otherwise. At the end of the policy
          period we will compute the earned premium            (3) If you necessarily incur the "Stop Date Loss"
          by applying the rates set forth in the rating            not as a result of loss or damage to which
          schedule(s) to the final "Gross Production               this insurance applies, then no part of the
          Costs". However, the earned premium will                 "Stop Date Loss" will be recoverable.
          not be less than the minimum policy                  Your performance contract must allow you to
          premium stated on the rating schedule(s),            extend the original termination date by at least
          regardless of the term of coverage.                  25% of the contracted period, subject to a
         If the earned premium is greater then the             minimum period of one (1) shooting day.
         deposit premium, we will send a bill to the
         first Named Insured that shows the amount
         due and when it is payable. If the earned        IV. DEFINITIONS APPLICABLE TO ALL
         premium is less than the deposit premium,            COVERAGES OF THIS POLICY
         we will return the excess to the first Named     a.   "Earthquake" means:
         Insured.


Dl 200 (06-10)                                                                                       Page 4 of 6      •



                                                                                                       Ex. A         Pg. 37
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 39 of 77 Page ID #:39


      (1) Any earth movement, such as an                         (1) Seizure or destruction of property by order
          earthquake, landslide, mine subsidence, or                 of governmental authority.
          earth sinking, rising or shifting; and                     But we will pay for loss or damage caused
      (2) Volcanic eruption, meaning the eruption,                   by or resulting from acts of destruction
          explosion or effusion of a volcano;                        ordered by governmental authority and
      provided that all earth movements or volcanic                  taken at the time of a Covered Cause of
      eruptions that occur within any seventy-two (72)               Loss in order to protect Covered Property.
      hour period will constitute a single earth                (2) Risks of contraband or illegal transportation
      movement or volcanic eruption.                                or trade.
 b.   "Flood" means flood, surface water, waves,                 (3) (a) War, including undeclared or civil war;
      tides, tidal waves, overflow of any body of water,             (b) Warlike action by a military force,
      or their spray, all whether driven by wind or not.                 including action in hindering or
 c.   "Gross Production Costs" means all costs                           defending against an actual or expected
      incurred by you during the policy period except:                   attack, by any government, sovereign or
      (1) Administrative costs not directly related to                   other authority using military personnel
          an "Insured Production";                                       or other agents; or

      (2) Any cost you did not initially incur or report             (c) Insurrection, rebellion, revolution,
          as a cost directly related to the "Insured                     usurped power, or action taken by
          Production"; and                                               governmental authority in hindering or
                                                                         defending against any of these.
      (3) Any other costs specifically stated not to be
          "Gross Production Costs" in an endorsement            (4) (a) Any weapon employing atomic fission,
          to this policy. "Insured Production" means a                  atomic fusion or radioactive force; or
          production or event that has been declared                 (b) Nuclear reaction or radiation, or
          and accepted by us and endorsed to this                        radioactive contamination from any
          policy.                                                        other cause. But if nuclear reaction or
 d.   "Mobile Equipment" means any of the following                      radiation, or radioactive contamination
                                                                         results in fire, we will pay for the direct
      types of land vehicles, including any attached
                                                                         loss or damage caused by that fire if the
      machinery or equipment:
                                                                         fire would be covered under this policy.
      (1) Bulldozers, farm machinery, forklifts and
          other vehicles designed for use principally           Exclusions a.(1) through a.(4) apply whether or
          off public roads;                                     not the loss event results in widespread damage
                                                                or affects a substantial area.
      (2) Vehicles that travel on crawler treads;
                                                             b. We will not pay for loss or damage caused by or
      (3) Vehicles, whether self-propelled or not,              resulting from any of the following:
          maintained primarily to provide mobility to
          permanently mounted equipment, or                     (1) Dishonest or criminal acts committed by:
          maintained primarily for purposes other than               (a) You, any of your partners, members,
          the transportation of persons or cargo.                        officers, managers, employees, leased
      However, "Mobile Equipment" does not include                       employees, directors, trustees or
      any land vehicle that is subject to a compulsory                   authorized representatives;
      or financial responsibility law or other motor                 (b) Anyone else with an interest in the
      vehicle insurance law in the state where it is                     property, or their employees or
      licensed or principally garaged.                                   authorized representatives; or
 e.   "Principal Photography" means the continuous                   (c) Anyone else to whom the property is
      period of time from the start date to the                          entrusted for any purpose.
      completion date you actually require to                       This exclusion applies whether or not such
      photograph or tape an "Insured Production",                   persons are acting alone or in collusion with
      including any necessary wraptime.                             other persons or such acts occur during the
                                                                    hours of employment.
V. EXCLUSIONS APPLICABLE TO ALL                                 (2) Any uninsured event occurring before,
   COVERAGES OF THIS POLICY                                         concurrently with or after the happening of
a.    We will not pay for loss or damage caused                     an insured event, which directly or indirectly
      directly or indirectly by any of the following. Such          causes or in any way contributes to cause or
      loss or damage is excluded regardless of any                  increase loss or damage under this policy,
      other cause or event that contributes                         but only with respect to that portion of any
      concurrently or in any sequence to the loss:
Dl 200 (06-10)                                                                                         Page 5 of 6      •



                                                                                                         Ex. A         Pg. 38
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 40 of 77 Page ID #:40


        such loss or damage caused by or                    chemicals and waste. Waste includes
        contributed to by the uninsured event.              materials to be recycled, reconditioned or
    (3) Discharge, dispersal, seepage, migration,           reclaimed.
        release or escape of "Pollutants" or            (4) A "Stop Date Loss", as described in Special
        environmental impairment of any kind.               Condition d., except as otherwise provided
        But if any of these results in a Covered            in Special Condition d.
        Cause of Loss, we will pay for the loss or      (5) Neglect of an insured to use all reasonable
        damage caused by that Covered Cause of              means to save and preserve property from
        Loss.                                               further damage at and after the time of loss.
        "Pollutants" means any solid, liquid, gaseous
        or thermal irritant or contaminant, including
        smoke, vapor, soot, fumes, acids, alkalis,




Dl 200 (06-10)                                                                               Page 6 of 6     •



                                                                                               Ex. A        Pg. 39
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 41 of 77 Page ID #:41


 POLICY NUMBER:                                                                MPTV PRODUCERS PORTFOLIO




                                 RATING SCHEDULE
                              SELF INSURED RETENTION
 This endorsement modifies insurance provided under the following:

       MPTV PRODUCERS PORTFOLIO


         EXPOSURES
         The base rates contemplate exposures worldwide you will use reasonable efforts to give us prior notice of
         any activities, conditions or hazards, which may materially increase your exposure to loss, and we have
         the right to apply terms, conditions or change the premium to reflect such increased exposure.
         The estimated insurable production cost of $1,500,000,000 applies to television productions. The
         estimated annual gross production costs of $87,031,000 applies to DICE Productions for Comcast.

 II.     RATES
         Rates shown below are per $100 of Insurable Production Cost ("IPC") as defined in CONDITIONS
         APPLICABLE TO ALL SECTIONS, SECTION II. SPECIAL CONDITIONS, A. DEFINITION OF
         INSURABLE PRODUCTION COST:

         A.      Motion Pictures, Movies of the Week, Feature Films for Theatrical Release (collectively
                 "Features") - NOT COVERED
                 All Television Productions, Pilots, Episodic Series, Mini-Series & Movies of the Week specifically
                 made for Broadcast Television (collectively "Television"): $.11 per $100 Net Insurable Production
                 Costs.
                 Documentaries, Industrial, Commercials and Educational productions (collectively "DICE") $0,185
                 per $100 of Gross Production Cost
         D.      Animation Productions, mobisodes and any other similar productions distributed via the web or
                 mobile devices NOT COVERED.
                 Strip Shows, television specials and webisodes with property coverage only are subject to a flat
                 premium of $40,000. Coverage applies only to the property section(s) of the policy; including
                 Third Property Damage
                 Webisodes requiring coverage for more than property cover will be rated as television series,
                 subject to a rate of $.11 per $100 of Insurable Production Costs.

III.     PREMIUM PAYMENT AND AUDIT

                 Premium Payment

                         The deposit premium for all insured productions will be determined using the rates stated
                         herein or otherwise negotiated.

                         The premium for all insured productions will be billed on the inception date of the policy
                         and based upon a schedule of productions that you will present to us. Such premium is a
                         deposit and estimated premium will be subject to a final audit, and adjusted on audit. The
                         deposit premium will be payable in four quarterly installments.

                         In the event of a mid-term cancellation, the policy earned premium will be determined
                         based the audited insurable production cost for all declared productions at the time of the
                         cancellation.



SIR 100 0110                                                                                           Page 1 of 3      •



                                                                                                           Ex. A       Pg. 40
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 42 of 77 Page ID #:42


                Premium Audits

                        The final adjusted premium will be subject to a "voluntary audit" of Insurable Productions
                        Costs in accordance with the rates and terms shown herein and as defined in the policy.
                        A "Voluntary Audit" means that you will submit to us within ninety (90) days of the
                        expiration of the policy an itemized accounting in the form of a production cost report (as
                        commonly used in the Entertainment Industry) of the total Insurable Productions Cost of
                        all productions.

                        In the event of a policy cancellation, the policy premium will be adjusted to reflect the
                        audited, actual insurable production costs from the inception to the cancellation date,
                          ro-rata refund will apply to all flat charges.


                        Premiums for audit adjustments will be billed upon completion of the audit.


 IV.   DEDUCTIBLES AND ANNUAL AGGREGATE SELF-INSURED RETENTION

       Coverage afforded under this policy is provided subject to the following terms and conditions:

                Maintenance Deductible

                        You shall incur all covered loss up to and including the amounts stated below as
                        Maintenance Deductibles see below:

                        The total of the adjusted claim amounts exceeding the deductible and related adjusting
                        expense will accrue to the annual aggregate self-insured retention ("SIR").

                        Adjusted claim amounts that do not exceed the Deductibles will not accrue to the SIR.

               Annual Aggregate Self-Insured Retention
               The annual aggregate self insured retention is $3,100,000

               The "self insured" retention is not applicable to productions defined as DICE productions.

       D.      Deductibles applicable to DICE Productions;

                       Cast                      $10,000
                       Negative                  $NIL
                       Faulty                    $5,000
                       Property                  $2,500
                       Extra Expenses            $5,000
                       Third Party PD            $2,500

       D.      Trailing Deductible(s)

                       After the Self Insured Retention has been exhausted, you will incur a Trailing Deductible
                       in the same amounts stated below as Deductibles for each adjusted claim and we will
                       pay all covered claims in excess of the trailing deductible including any and all related
                       adjusting expense(s)>




SIR 100 0110                                                                                             Page 2 of 3    •




                                                                                                           Ex. A       Pg. 41
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 43 of 77 Page ID #:43




 V.   MAINTENANCE AND TRAILING DEDUCTIBLES


         COVERAGE                 MAINTENANCE            TRAILING



         Cast                        $50.000               50,000
         Negative                      $0                    $0
         Faulty                      $50,000              $25,000
         Extra Expense               $50,000              $25,000
         Property                    $ 5,000              $5,000
         Third Party Property
         Damage                      $10,000              $5,000




 SIR 100 0110                                                         Page 3 of 3    •




                                                                       Ex. A        Pg. 42
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 44 of 77 Page ID #:44


                                                                              MOTION PICTURE PORTFOLIO




                             SECTION I - CAST COVERAGE

 Throughout this policy the words you and your refer to the Named Insured shown in the Declarations. The words
 we, us and our refer to the Company providing this insurance.



 I. COVERAGE

 A. Coverage                                                   5.   The date on which cancellation or termina-
 We will pay the actual and necessary loss you sus-                 tion of coverage under this policy for the "In-
 tain by reason of a Covered Person being prevented                 sured Production" becomes effective.
 from commencing, continuing or completing an
 assigned duty or role in an "Insured Production". The              The expiration date of this policy or declara-
 loss must be caused by or result from a Covered                    tion will be extended, if necessary, from the
 Cause of Loss during the Term of Coverage.                         earliest of these dates. We may charge ad-
 B. Covered Causes of Loss                                          ditional premium for this extension.
      1. Accidental injury, sickness or death, to a                 Subject to the Medical Examination Condi-
          Covered Person;                                           tion below, Term of Coverage also includes
      2. Kidnap of a Covered Person;                                the Pre-Production period of Cast Coverage.
      3. Death, Severe Injury, Catastrophic Injury,                 The Pre-Production period for Covered Per-
          life threatening illness of an "Immediate                 sons who are "Guest Artists" in episodic
          Family Member" during the term a Covered                  television begins sixty 60 days before the
          Person is insured hereunder.                              start of "Principal Photography" or videotap-
     4.  "Violent Death" or "disgrace" of a Covered                 ing of the "Insured Production".
         Person declared and accepted by us, that              g    The Pre-Production period for other Covered
         necessarily forces the abandonment of the                  Persons begins one hundred and eighty
         "Insured Production", except those causes                  (180) days before the start of "Principal Pho-
         of loss listed in the Exclusions.                          tography".
C. Term of Coverage
Term of Coverage, as used in this Coverage, means              10. You may, provided we are given prior notice,
the period beginning with the effective date shown in              Declare a starting date of "Principal Photog-
the Declarations, reporting form or the start date of              raphy" at any time within the term of this pol-
principal photography whichever occurs first, and                  icy;
continuing until the earliest of the following dates:
                                                           II. EXCLUSIONS
     1.   The date of delivery required under the          We will not pay for loss caused by or resulting from
          completion guarantee agreement with the          any of the following:
          distributor(s);
                                                               1.   Sickness on a Covered Person unless ac-
     2.   The date your completion guarantor is re-                 cepted by us and or as may be provided un-
          leased from further obligations to you;                   der IV b Medical Examination.
     3.   Eighteen (18) months after completion of             2.   Any Covered Person taking part in flying
          "Principal Photography";                                  other than as a passenger;
    4.    The date on which a protection print or du-          3.   The inability of any female to continue her
          plicate tape has been completed and physi-                performance because of pregnancy or con-
          cally removed from the premises where the                 ditions pertaining to pregnancy. This exclu-
          original negative or tape is located; and in              sion will not apply if you can prove that the
          the case of "Violent Death or Disgrace",                  female was not aware of the pregnancy
          upon airing of the Insured Productions Cov-               when they accepted the position with you or
          erage.                                                    when they completed the medical certificate




NS 101 0110                                                                                           Page 1 of 5      •



                                                                                                        Ex. A         Pg. 43
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 45 of 77 Page ID #:45


          or when the medical examination was per-                  (2) All other necessary expenses that re-
          formed                                                        duce the amount of loss otherwise pay-
          Any Covered Person over seventy eight (78)                    able.
          years of age unless the person is specifically            However, your loss will not include loss of
          named in an endorsement attached to this                  earnings of profit.
          policy                                           If you abandon an "Insured Production" that has
     5.   Any reservation, exception or restriction we     been made substantially valueless solely because
          have imposed on a Covered Person, as de-         one or more covered causes of loss reasonably,
          scribed in the Medical Examination Condi-        practically and necessarily prevents you from com-
          tion below, regardless of when the event         pleting the "Insured Production", irrespective of any
          causing loss occurs.                             completion or delivery date requirements for the
          Behavior, action or inaction of a covered        "Insured Production", we will pay as loss the total
          person that is consistent with the known         "Insurable Production Cost" you have incurred for
          public or private persona or behavior of the     the "Insured Production".
          covered person which gives rise to "dis-         "Insurable Production" including the "Insurable Pro-
          grace" of the "covered person".                  duction Costs" of any unaired production or series of
                                                           productions in the event of loss under Coverage I,
                                                           Section B.4 "Violent Death" or Disgrace".
 III. LIMITS OF LIABILITY
 The most we will pay for loss in any one occurrence
 is the Limit of Insurance shown in the Declarations       VI. ADDITIONAL CONDITIONS
 for Cast Coverage.                                             For the purposes of this Coverage, the following
 Family Death is subject to a sublimit of $2,000,000           Conditions apply in addition to the Policy Condi-
 per Occurrence.                                               tions.
                                                               a.   Additional Duties In The Event of Loss Or
                                                                    Damage
 IV. DEDUCTIBLE OR SELF INSURED RETENTION
 We will not pay for loss in any one occurrence until               The following is added to Policy Condition
 the amount of the adjusted loss before applying the                VIII - Duties In The Event of Loss:
 applicable limits of insurance exceeds the deductible              (1) You must report immediately to us or
 or self insured retention amount shown in the Decla-                   our authorized representative any fact or
 rations for Cast Coverage. We will then pay the                        circumstance which may prevent a Cov-
 amount of the adjusted loss in excess of the de-                       ered Person from commencing, continu-
 ductible or self insured retention, up to the applica-                 ing or completing an assigned duty or
 ble limit of insurance.                                                role in an "Insured Production" and
A Maintenance Deductible applies excess of the Self                     which may result in a claim under this
Insured Retention as described on a schedule or                         policy.
endorsement of Maintenance Deductibles.                             (2) You must immediately secure and file
A separate Deductible of $250,000 shall apply to                        with us or our authorized representative
Cast Coverage loss arising from any artists partici-                    the certification of a duly licensed physi-
pating in stunts or other hazardous activity where                      cian. The certification must include a
such stunts or other hazardous activity was not                         complete description of the injury, sick-
declared to the underwriter, and accepted and ap-                       ness or death and the prognosis.
proved for coverage by the underwriter prior to the                 (3) You must make every effort to preserve
activity taking place.                                                  our rights, including enforcing any con-
                                                                        tractual conditions or terms applicable to
                                                                        the Covered Person, to:
V. DEFINITION OF LOSS
    a. The amount of your loss will be determined                       (a) Have any Covered Person exam-
       based on:                                                            ined by a medical doctor of our
                                                                            choice; and
          (1) All necessary "Insurable Production
              Cost" you incur to complete the "Insured                  (b) Have continuing access to the med-
              Production" that exceeds the amount of                        ical records of any Covered Person.
              "Insurable Production Cost" you would                 It is your responsibility to comply with these
              have incurred if the covered cause of                 conditions and your inability to provide the
              loss had not occurred; and




Page 2 of 5                                                                                         NS 101 0110        •



                                                                                                        Ex. A         Pg. 44
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 46 of 77 Page ID #:46


         above may result in your not proving your
         claim hereunder.                                  (2) Cast Exams are required for cast cover-
    b.   Medical Examination, Accident Coverage,               age to apply to any artists declared to a
         Immediate Family, Essential Element, Vio-             DICE production, when the estimated
         lent Death & Disgrace                                 gross     production   costs     exceeds
         (1) Any production except Feature Films               $5,000,000 or when the total number of
             each Covered Person, other than a                 filming days exceeds thirty (30) days.
             "Guest Artist" in episodic television,            Productions with total Gross Production
             must be examined by a duly licensed               Costs     exceeding     10,000,000     or
             physician, designated or approved by us           $1,500,000 per episode, requiring Cast
             or submit a medical affidavit not more            Coverage must be declared to the policy
             than one hundred eighty (180) days                in order for coverage to apply. All other
             prior to the start of principal photography       DICE productions, regardless of total
             of the start date the Covered Person's            production costs or the episodic costs
             assigned duties or role in the "Insured           per episode that do not require Cast
             Production" are scheduled to com-                 Coverage, do not need to be declared in
             mence.                                            order for coverage, other than cast cov-
             For Feature Films the following Covered           erage to be afforded under the policy to
             Person(s) must be examined by a duly              apply.
             qualified physician designated or ap-
             proved by us, (veterinarian with respect      (3) Sickness Coverage for the Covered Per-
             to animals), who will submit to us a              son will become effective on the date
             Medical Certificate or Affidavit signed by        the medical examination, Medical Cer-
             the examinee and physician (not appli-            tificate or Affidavit authorization is com-
             cable to animals prior to the date the            pleted, subject to our receipt and ap-
             Covered Person's assigned duties or               proval of the medical exam, Medical
             role in the "Insured Production" are              Certificate & Affidavit.
             scheduled to commence. The physician
             must complete and submit to us a Medi-            Based on the medical information sub-
             cal Certificate or Affidavit, on forms ap-        mitted to us, we have the right to make
             proved by us and signed by the Covered            any reservation, exception or restriction
             Person.                                           regarding the insurability of the Covered
                                                               Person within two (2) business days of
                 a.   The Director(s);                         receipt of the medical exam. We will not
                                                               pay for loss caused by or resulting from
                 b.   Seven (7) covered persons with
                                                               any such reservation, exception or re-
                      the greatest exposure to the pro-
                                                               striction.
                      duction as determined by the
                      Risk Management Department. If           If a Covered Person becomes sick or
                      Risk Management has made a               disabled before the medical exam or
                      determination of the top seven           Medical Affidavit has been completed
                      (7) artists and it is discovered         we will cover the sickness or disability
                      that the determination was incor-        subject to you showing that the sickness
                      rect, we will not deny a claim or        or disability would not have been dis-
                      penalize you for such incorrect          covered or disclosed during the medical
                      determination.                           exam or outlined in the Medical Affidavit
            The physician must complete and sub-               and that the Covered Person had no
            mit to us a medical questionnaire and              prior knowledge.
            certificate, on forms approved by us and
            signed by the Covered Person.                      Our failure to respond to a Medical Cer-
                                                               tificate & Affidavit and or Affidavit & Au-
            If the doctors we provide are not avail-           thorization within two (2) business days
            able to you for the completion of a medi-          of our receipt will result in full coverage
            cal examination, we grant you permission           without restriction.
            to use any licensed medical doctor avail-
            able, except for the Covered Person s          (4) Accident and Kidnap Coverage is effec-
            personal physician;                                tive on the date you have contracted




NS 101 0110                                                                                  Page 3 of 5      •



                                                                                               Ex. A         Pg. 45
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 47 of 77 Page ID #:47


              with the Covered Person to perform in                        favorably upon the named insured or in-
              the "Insured Production".                                    sured production that renders the "In-
         (5) "Disgrace" & "Violent Death" is effective                     sured Production" commercially unvia-
             when the Covered Person is approved                           ble on unaired shows.
             by us.                                                        "Essential Element" is defined AS a de-
         (6) "Immediate Family" is effective on the                        clared artist(s) for the purpose of com-
             date you have contracted with the Cov-                        pletion and delivery of the "Insured Pro-
             ered Person to perform in the "Insured                        duction" as an "Essential Element" and
             Production".                                                  accepted by us.

         (7) "Essential Element" is effective when
             the Covered Person is declared and ap-         VII. ESSENTIAL ELEMENT
             proved by us.                                     In the event of:
         (8) Animals must be declared and accepted                   (i)   The death of a declared "Essential Ele-
             by us before coverage will commence.                          ment" during the period of pre-
 We will also review our own case history and public                       production or principal photography; or
 records to determine the coverage on any Covered                    (ii) The injury or illness of an "Essential
 Person.                                                                  Element" during the period of principal
                                                                          photography, whose injury or illness
                                                                          necessarily prevents the declared artist
                                                                          from performing services and complet-
 VI. DEFINITIONS                                                          ing the insured production. The injury or
                                                                          illness must incapacitate the "Essential
              "Covered Person" means a person de-
                                                                          Element" for a period of more than 30
              clared and accepted by us, except as
                                                                          days;
              outlined herein.
                                                            it shall be considered reasonable, practical, and
              "Guest Artist" means the Host under a
                                                            necessary for you to abandon the Insured Produc-
              DICE Production & a Covered Person
                                                            tion during principal photography and make claim
              appearing in or contracted to appear in
                                                            under this Section for such costs.
              episodic television for less than three (3)
              consecutive episodes or less than fifty       Pursuant to Paragraph c. (ii) above, we shall have
              percent (50%) of a series of produc-          the option to delay your abandonment of the insured
              tions.                                        production for up to 30 days after the occurrence of
                                                            the injury or onset of the injury or illness if in our
              "Immediate Family Member" means the
                                                            good faith business judgment the artist is likely to
              mother, father, sister, brother, spouse,
                                                            recover from such injury or illness to resume his/her
              life partner, child, stepparents, stepchil-
                                                            assigned role or position within 30 days.
              dren, stepbrother, stepsister, mother-in-
              law, father-in-law, sister-in-law, brother-   In the event our decision to exercise our option to
              in-law, daughter-in-law, son-in-law or        delay your abandonment of the insured production
              "significant others" who reside together,     for up to 30 days after the occurrence of an injury or
              grandparent or grandchild of the Cov-         onset of an illness of the declared "Essential Ele-
                                                            ment" causes you to incur a loss in excess of the
              ered Person.
                                                            amount stated in Section I. Cast, III Limits of Liability
              "Violent Death" means the Covered             then such limit of liability shall automatically be in-
              Person died at the hands of another           creased to include the costs necessarily incurred in
              person and that the Covered Person            excess of the Limit of Liability caused solely and
              was involved in a crime. The showing of       directly by the warranties below.
              the "Insured Production" would degrade
              the insured and would anger the public
                                                            VIII. DUTIES IN THE EVENT OF LOSS
        5.    "Disgrace" means any criminal act or al-      Prior to payment of the "Essential Element" loss
              leged criminal act, or any offense            covered, you will comply with the following:
              against public taste or decency, commit-
              ted by a covered person, beyond their
              usual or expected behavior, that de-
              grades or brings that Covered Person
              into disrepute or provokes insult or
              shock to the community that reflects un-




Page 4 of 5                                                                                           NS 101 0110        •



                                                                                                          Ex. A         Pg. 46
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 48 of 77 Page ID #:48


        Upon our written request, within five (5)
        business days following the "Essential Ele-
        ment" loss you and one of our representa-
        tives shall meet to determine the viability of
        the options to complete the insured produc-
        tion, including the possibility of replacing the
        "Essential Element". You will do all things
        possible to complete the Insured Production,
        where possible with the remaining cast and
        crew, including maintaining or replacing fi-
        nancing to complete the insured production.
        "Essential Element" replacement will be a
        person of similar standing within the motion
        picture industry who is acceptable to inde-
        pendent financiers or distributors.
        You will work with us in good faith and do all
        things possible to replace the "Essential
        Element" and upon our request, provide us
        your authority to negotiate on your behalf
        with any other party to assist in the replace-
        ment of an "Essential Element" or financing.
        You will at our option enable us to maintain
        or replace any financing to complete the in-
        sured production.
Any breach of the above warranties will relieve us of
any claim that would be payable hereunder.




NS 101 0110                                                           Page 5 of 5   •



                                                                        Ex. A       Pg. 47
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 49 of 77 Page ID #:49


 POLICY NUMBER:                                                              MPTV PRODUCERS PORTOLIO


              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                   BROAD FORM DISGRACE COVERAGE
This endorsement modifies insurance provided under the following:

    MPTV PRODUCERS PORTFOLIO


"Violent Death" or "Disgrace" of a Covered Person declared and accepted by us, that forces the abandonment or
delay of the "Insured Production"; except those causes of loss listed in the Exclusions.


The above Disgrace Coverage is provided contingent on the following provision:


A separate request must be received by Underwriting, accepted by us, and declared to the policy




All other terms and conditions remain unchanged.




NS 109 0105                                                                                       Page 1 of 1   •



                                                                                                     Ex. A      Pg. 48
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 50 of 77 Page ID #:50


                                                                               MOTION PICTURE PORTFOLIO




       SECTION II - NEGATIVE FILM AND FAULTY STOCK

 Throughout this policy the words you and your refer to the Named Insured shown in the Declarations. The words
 we, us and our refer to the Company providing this insurance.



I. INSURING AGREEMENT
We agree to pay you such loss (defined in Para-             IV. DEDUCTIBLE
graph IV) as you directly and solely sustain as a           We will not pay for loss or damage in any one occur-
result of loss of, damage to or destruction of video-       rence until the amount of the adjusted loss or dam-
tape stock, raw film stock, recorded videotape, ex-         age before applying the applicable limits of insur-
posed motion picture film (developed or undevel-            ance exceeds the deductible amount shown in the
oped), inter-positives, positives, work prints, cutting     Declarations for Negative Film Coverage. We will
copies, fine grain prints, sound tracks, tapes, trans-      then pay the amount of the adjusted loss or damage
parencies, cells, art work (used to create animation        in excess of the deductible, up to the applicable limit
or other images), source materials, software, data,         of insurance.
media and related material used to generate com-
puter or other images, and or any similar material or       V. TERM OF COVERAGE
property, caused by an insured peril (defined in
                                                            Term of Coverage, as used in this Coverage, means
Paragraph II) when such property is your property or
                                                            the period beginning one hundred eighty (180) days
the property of others for which you are legally liable
                                                            before the date shown in the Declarations as the
and, while such property is used or to be used in
                                                            start of "Principal Photography" or the start date of
connection with an insured production.
                                                            principal photography which ever occurs first, and
                                                            continuing until the earliest of the following dates:
II. PERILS INSURED
This coverage insures:                                              (a) The date of delivery required under the
     (1) All risks of direct physical loss or damage;                   completion guarantee agreement with
     (2) Faulty materials, faulty equipment, faulty                     the distributor(s);
          computer equipment, faulty editing, faulty de-            (b) The date your completion guarantor is
          veloping or fault processing; including acci-                 released from further obligations to you;
          dental erasure, magnetic, or x-ray injury, dis-
                                                                    (c) Eighteen (18) months after completion
         turbance or erasure of film, electronic re-
                                                                        of "Principal Photography";
          cordings or video tape and loss of media,
          data, or software;                                        (d) The date on which a protection print or
     (3) Operator error including faulty manipulation                   duplicate tape has been completed and
         or faulty operation, of camera, lighting,                      physically removed from the premises
         sound, electrical, editing, computer or any                    where the original negative or tape is lo-
         other equipment;       technician's error(s) of                cated;
         judgment; and errors in machine or computer                (e The date your interest in the property
         programming or instructions to any machine                    ceases; or
         or computer.
                                                                    (f) The date on which cancellation or termi-
                                                                        nation of coverage under this policy for
III. LIMITS OF INSURANCE
                                                                        the "Insured Production" becomes effec-
The most we will pay for loss in any one occurrence                     tive.
is the Limit of Insurance shown in the Declarations
                                                            The expiration date of this policy will be extended, if
for Negative Film coverage.
                                                            necessary, until the earliest of these dates. We may
Operator Error is subject to a $2,000,000 Sub-limit         charge additional premium for this extension.




NS 102 0110                                                                                           Page 1 of 3     •



                                                                                                        Ex. A         Pg. 49
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 51 of 77 Page ID #:51


 VI. PROPERTY EXCLUDED                                            loss due to loss of or damage to videotape
 This coverage does not insure cut-outs, unused foot-             stock, raw film stock or blank media;
 age or library stock.                                        (4) Unexplained or mysterious disappearance or
                                                                  shortage found upon taking of inventory of
 VII. DEFINITION OF LOSS                                          video tape stock, raw film or blank media.
     A. The amount of your loss will be determined
        based on the following:                           IX. CONDITIONS
         (1) With respect to videotape stock, raw film    You will ensure that artwork, drawings, software and
             stock and blank media, the actual cost       related material (hereinafter referred to as "source
             to replace these items with property of      material") used to generate computer images and
             like kind and quality.                       animation cells are retained until a protection print has
                                                          been completed or expiration of this coverage,
         (2) With respect to other Covered Property,      whichever comes first.
             all necessary "Insurable Production          You will safeguard and maintain all source material(s)
             Cost" you incur to reshoot, re-create, or    that have been photographed, or used as intended in
             restore the "Insured Production" that ex-    the production process. Damage to such source
             ceeds the amount of "Insurable Produc-       material will not be considered a loss hereunder,
             tion Cost" you would have incurred if no     except to the extent that other covered property is
             physical loss or damage had occurred.        damaged and you have complied with the above.
        (3) All other necessary expenses that re-
            duce the amount of loss otherwise pay-        X. DEFINITIONS
            able.                                              1) COMPUTER PROGRAMS means data, and
    B. Your loss will not include:                                source code used to direct the computer
                                                                  equipment, including diagrams or other re-
        (1) Loss of earnings or profit; or                        cords which can be used to reproduce pro-
        (2) "Insurable Production Cost" incurred                  grams.
            due to delay in completing an "Insured             2) DATA includes and is not limited to facts,
            Production".                                          concepts, source code, programming records
                                                                  or instructions which are converted to a form
    C. But we will pay for "Insurable Production
       Cost" incurred:                                            usable in your electronic data processing op-
                                                                  erations, computer programs or electronically
              (1) As the direct result of unavoidable             controlled equipment.
                  delay that occurs during the period          3) MEDIA includes electronic data processing
                  necessary to restore the affected               recording or storage media on which Data
                  portions of the "Insured Production";           are recorded or stored such as software,
                  and                                             films, tapes, discs or cells.
              (2) As the result of a covered "Stop            4) SOFTWARE means any combination of
                  Date Loss".                                     DATA, MEDIA or COMPUTER PROGRAMS
                                                               5) Computer EQUIPMENT means your pro-
If you abandon an "Insured Production" that has
                                                                  grammable electronic equipment that is used
been made substantially valueless solely because
                                                                  to store, retrieve or process software. It in-
one or more covered causes of loss reasonably,
                                                                  cludes but is not limited to any component
practically and necessarily prevents you from com-
                                                                  parts and associated peripheral
pleting "Insured Production", irrespective of any
                                                                  equipment or hardware that provides com-
completion or delivery date requirements for the
                                                                  munication including input and output func-
"Insured Production", we will pay as loss the total
                                                                  tions, printing and           data transmis-
"Insurable Production Cost" you have incurred for
                                                                  sion. Computer equipment does not include
the "Insured Production".
                                                                  software.
                                                          XI. LIBRARY STOCK EXTENSION
VIII. EXCLUSIONS
                                                          The following is added to Paragraph I.a Covered-
This coverage does not insure against loss caused
                                                          Property:
by or resulting from:
     (1) Exposure to light, deterioration, atmospheric    Covered Property, as used in this Coverage, in-
         dampness or changes in temperature;              cludes the following:
     (2) The use of incorrect raw film stock or video-        (1) Your original cut negative film of completed
         tape or media/software;                                  or released productions, duplicate nega-
     (3) Delay, loss of use, loss of market, interrup-            tives, completed video tapes or other media
         tion of business, or any other consequential             which is considered library stock to you.




Page 2 of 3                                                                                         NS 102 0110       •



                                                                                                        Ex. A         Pg. 50
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 52 of 77 Page ID #:52


 Paragraph l.b. Property Not Covered is amended to
 remove subparagraph (3) Library stock.
 Part III. Limits of Insurance is replaced by the follow-
 ing:
     a.   The most we will pay for loss in any one oc-
          currence is the Limit of Insurance shown in
          the Declarations for the applicable Cover-
          age^).
     b.   Subject to the above limit of insurance appli-
          cable to any one occurrence, the most we
          will pay for loss or damage to library stock in
          any one occurrence is $1,000,000.
     c.   Subject to the above limits of insurance ap-
          plicable to any one occurrence and library
          stock, $1,000,000 is the most we pay for
          loss or damage to any one production.
The following is added to Part IV. Deductible:
 With respect to library stock, the deductible amount
 is the same as the deductible amount shown in the
 Declarations or otherwise applicable.
The following is added to Part V. Method of Valua-
tion:
The amount of your library stock loss will be deter-
mined based on the actual cost to repurchase from
an outside source, reprint or copy in whole or in part
the affected portions of the library stock, whether or
not the reprint or copy is made from an original or a
copy of the lost or damaged library stock.




NS 102 0110                                                           Page 3 of 3    •



                                                                        Ex. A       Pg. 51
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 53 of 77 Page ID #:53


                                                                               MOTION PICTURE PORTFOLIO




                             SECTION III - EXTRA EXPENSE

Throughout this policy the words you and your refer to the Named Insured shown in the Declarations. The words
we, us and our refer to the Company providing this insurance.


                                                                            authority that revokes your permis-
I. INSURING AGREEMENT                                                       sion to use or prohibits access to
We agree to pay to you such loss (as defined in Par-                        property or facilities used or to be
agraph VII) not including loss of earnings or profit, as                     used in connection with an Insured
you sustain by reason of such extra expense you                             Production.
necessarily incur as a result of the interruption, post-                 g) Imminent peril, defined as certain,
ponement, cancellation, relocation, curtailment or                           immediate and impending danger of
abandonment of an Insured Production due to the                             such probability and severity to per-
following:                                                                  sons or property that it would be un-
                                                                            reasonable or unconscionable to ig-
    1.   The loss must be a direct result of an unex-                       nore.
         pected, sudden or accidental occurrence en-                     h) Any expenses incurred to avoid a
         tirely beyond your control to include:                             loss resulting from imminent peril are
               a) Confiscation and/or detainment of                         covered to the extent that they serve
                  equipment, material or personal                           to avoid a loss otherwise covered.
                  property by order of any government          2.   Except as provided above, this extension
                  or civil authority;                               does not negate the applicability of the basic
               b) Shipping or transit delays or cancel-             terms and conditions of:
                  lation of necessary and required                       a) The Extra Expense Coverage in the
                  equipment, material or personal                           event that an imminent peril results
                  property used or to be used in the                        in damage to or destruction of prop-
                  Insured Production caused by ad-                          erty or facilities payable under this
                  verse weather conditions;                                 policy; or
              c) Interruption or loss of utilities (electri-             b) The Cast Coverage in the event that
                  cal, steam, gas or any other power                        an imminent peril results in death,
                  source) required to continue or com-                      injury or sickness of a covered per-
                  plete an insured production;                              son, in which case a separate claim
              d) Strikes by any party, union, guild or                      will result from the consequential
                  labor group for which you are not a                       loss as described above.
                  signatory or directly involved in nego-      3.   All unexpected, sudden or accidental crisis
                  tiations or is not a major entertain-             accident seriously injuring or killing a cast or
                  ment union or guild;                              crew member on the production site that
              e) Verifiable breakdown, short circuit,               necessarily forces you to stop the filming of
                  electrical injury, disturbance or mal-            the Insured Production, the following ele-
                  function to Covered Personal Proper-              ments must have occurred:
                  ty or vehicles. Subject to props; cre-                 a) The crisis resulted in a life-
                  ated, constructed, designed or main-                      threatening physical injury or acci-
                  tained by you must be tested and                          dental death to a cast or crew mem-
                  verified to be in working order under                     ber of the insured production;
                  the conditions you will be using                       b) The crisis occurs at the filming loca-
                  them.                                                     tion of the Insured Production
              f) Interruption, postponement or can-                         (meaning a location where cast or
                  cellation of an insured production as                     crew is assembled to shoot any
                  a direct result of the action of a civil                  scheduled work);




NS 103 0110                                                                                           Page 1 of 4      •



                                                                                                         Ex. A         Pg. 52
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 54 of 77 Page ID #:54


              c)   The crisis was witnessed by cast or              (6) The date on which cancellation or termi-
                   crew members of the Insured Pro-                     nation of coverage under this policy for
                   duction or is a forced closure by a                  the "Insured Production" becomes effec-
                   civil authority;                                     tive.
              d)   The crisis necessarily results in the   The expiration date of this policy will be extended, if
                   immediate suspension of the pro-        necessary, until the earliest of these dates. We may
                   duction of the Insured Production.      charge additional premium for this extension.

 II. LIMITS OF INSURANCE                                   V. WARRANTIES
    The most we will pay for loss in any one occur-        You warrant that:
    rence is the Limit of Insurance shown in the
                                                               A. All necessary arrangements and contractual
    Declarations for Extra Expense coverage, ex-
                                                                  agreements for the Insured Production, in-
    cept the following:
                                                                  cluding, but not limited to, permits, visa(s)
        1.    Strike is subject to a $1,000,000 any               and licenses, have been obtained and/or
              one occurrence;                                     executed by you, prior to any "loss" covered
        2.    Confiscation is subject to a $1,000,000             hereunder.
              any one occurrence;                              B. You have disclosed to us any arrangements,
        3.    Shipping & Transit Coverage is subject              contractual conditions, physical conditions or
              to a $1,000,000 any one occurrence;                 other facts that could affect the Insured Pro-
                                                                  duction.
        4.    Vehicle mechanical break down is sub-
              ject to a $1,000,000 sublimit any one            C. Prior to the inception of coverage hereunder,
              occurrence;                                         you warrant having no knowledge of any
                                                                  matter, fact or circumstance, actual or
III. DEDUCTIBLE                                                   threatened, that increases or could increase
We will not pay for loss in any one occurrence until              the possibility of a "loss" under this Policy.
the amount of the adjusted loss before applying the
applicable limits of insurance exceeds the deductible      Failure to fulfill any warranty above will release us
amount shown in the Declarations for Extra Expense         from all obligations under this Policy, to the extent
Coverage. We will then pay the amount of the ad-           that a "loss" is suffered or increased by that failure
justed loss in excess of the deductible, up to the
applicable limit of insurance.
                                                           VI. PROPERTY NOT COVERED
IV. TERM OF COVERAGE                                       Covered Property does not include Negative film,
Term of Coverage, as used in this Coverage, means          video tape, tapes, animation cells, transparencies,
the period beginning one hundred eighty (180) days         positives, sound tracks, artwork, software, programs
before the date shown in the Declarations as the           or any other form of media.
start of "Principal Photography" or the start date of
principal photography which ever occurs first , and        VII. EXCLUSIONS
continuing until the earliest of the following dates:      This coverage does not cover "loss" caused by,
                                                           resulting from, or arising out of:
         (1) The date of delivery required under the
             completion guarantee agreement with               1.   The failure of any person(s) in connection
             the distributor(s);                                    with the Insured Production to commence,
        (2) The date your completion guarantor is                   continue or complete their respective duties
            released from further obligations to you;               or performances for any reason; or

        (3) Eighteen (18) months after completion              2.   Any financial cause of "loss', including but
            of "Principal Photography";                             not limited to:

        (4) The date on which a protection print or                     a)   Any deficient or inadequate re-
            duplicate tape has been completed and                            sponse, support or withdrawal of
            physically removed from the premises                             support, including insufficient at-
            where the original negative or tape is lo-                       tendance or interest prior to attend-
            cated;                                                           ance;

        (5) The date your interest in the property                      b)   Withdrawal of funds, inadequate or
            ceases; or                                                       insufficient finances, however
                                                                             caused;




Page 2 of 4                                                                                          NS 103 0110     •



                                                                                                         Ex. A       Pg. 53
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 55 of 77 Page ID #:55


            c)   Any financial failure of any venture,    9.   An imminent peril or physical damage to
                 company, entity or person;                    property, facilities, or locations necessary to
            d) Any failure to maintain adequate re-            the insured production.
               ceipts, sales or profits, including any    10. Any concern or belief that the commence-
               failure to provide bond(s) or financial        ment or continuation of Insured Production
               security;                                      is inappropriate.
            e) Any variation in the rate of ex-           11. Breach of contract by any party whether their
               change, including devaluation, rate            contractual relationship be with you or other-
               of interest or stability of any curren-        wise where such loss is consequent upon or
               cy;                                            contributed to by any cause within your con-
                                                              trol or any other such party which includes
            f)   Any financial default, insolvency,           the failure of any individual or entity contract-
                 debt or failure to pay necessary ex-         ed, hired or employed to willingly perform the
                 pense to any person, firm or corpo-          duties for which that person or entity has
                 ration;                                      been hired with respect to the Insured Pro-
   3.   Any actual adverse weather at the location            duction.
        of any insured production except:                 12. Wear and tear; any quality in the property
            a)   The action of a civil authority that         that causes it to damage or destroy itself;
                 prevents access to, exit from (in-            hidden or latent defect; gradual deteriora-
                 gress or egress) or closes down the          tion; depreciation; mechanical breakdown or
                 location and or facilities due to con-       electrical breakdown; insects; vermin, or ro-
                 ditions that threaten the safety of          dents; corrosion, rust, dampness, cold or
                 cast, crew or property, an imminent           heat. This exclusion does not apply to Veri-
                 peril; or                                    fiable breakdown, short circuit, electrical in-
            b)   Physical damage to property, facili-         jury, disturbance or malfunction to Covered
                 ties, or locations necessary to the          Personal Property or vehicles. Subject to
                 insured production.                          props; created, constructed, designed or
                                                              maintained by you must be tested and veri-
   4.   Your failure or inability to complete or obtain       fied to be in working order under the condi-
        any contractual agreements, permits or li-            tions you will be using them.
        censes of any kind;                               13. Processing or work upon the property.
   5.   Your failure or inability to properly comply          But if processing or work upon the property
        with, or the violation of any requirement or          results in fire or explosion, this exclusion
        any procedure necessary for the issuance              does not apply to direct loss or damage
        and continuance of any permit or authoriza-           caused by that fire or explosion, if the fire or
        tion; or your failure to properly process or          explosion would be covered under this Cov-
        complete any applications or required doc-            erage.
        uments.                                           14. Unexplained or mysterious disappearance or
                                                              shortage found upon taking of inventory.
   6.   The refusal or revocation of any permit or
                                                          15. Rain, ice, sleet, snow or hail, whether driven
        authorization due to a violation of any exist-
                                                              by wind or not, to property stored in the open.
        ing civil or criminal law or codes.
                                                              This exclusion does not apply to property that
   7.   Any governmental body or civil authority              was built or designed to be stored in the
        preventing the commencement or comple-                open.
        tion of an Insured Production due to a            16. Intentional acts committed by you or at your
        breach of the terms of the permit or any civil        direction.
        or criminal violation by you.                         This exclusion does not apply to damage,
   8.   Any concern or fear of an occurrence which            destruction or threat thereof to software or
        may affect the commencement of the con-               computer media by an external person or an
        tinuation of the Insured Production, except           internal employee breaching your authority
        the action of a civil authority that prevents         and safeguards to protect such software or
        access to, exit from (ingress or egress) or           computer media.
        closes down the location and or facilities due    17. Loss of use (including loss of use of ani-
        to conditions that threaten the safety of             mals), loss of market, interruption of busi-
        case, crew or property;                               ness, or any other consequential loss.
                                                          18. Any other loss that may be covered by some
                                                              other section of this policy.




NS 103 0110                                                                                      Page 3 of 4       •



                                                                                                    Ex. A         Pg. 54
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 56 of 77 Page ID #:56


    19. Any weather condition that is a photographic
        weather condition;
    20. The quality or content of the "Insured Produc-
        tion".
    21. Strike by any organization for which you are
        a signatory or negotiate with or is a major en-
        tertainment union or guild;
    22. Strike by an union or guild that was occurring
        prior to the commencement of "principle pho-
        tography" of an "Insured Production"
    23. Watercraft exclusion amended to cover ves-
        sels valued under $750,001 No exclusion or
        restriction will be applied for watercraft used
        as part of a set and moored to a pier, dock,
        wharf of similar fixed structure.

 IX. DEFINITION OF LOSS
The amount of your loss will be determined based
on:
    1.   All necessary "Insurable Production Cost"
         you incur to complete the "Insured Produc-
         tion" that exceeds the amount of "Insurable
         Production Cost" you would have incurred if
         the covered cause of loss had not occurred;
    2.   All other necessary expenses that reduce
         the amount of loss otherwise payable.
    3.   Your loss will not include loss of earnings of
         profit.
    4.   If you abandon an "Insured Production" that
         has been made substantially valueless sole-
         ly because one or more covered causes of
         loss reasonably, practically and necessarily
         prevents you from completing the "Insured
         Production", irrespective of any completion
         or delivery date requirements for the "In-
         sured Production", we will pay as loss the to-
         tal "Insurable Production Cost" you have in-
         curred for the "Insured Production".




Page 4 of 4                                                          NS 1030110   •



                                                                       Ex. A      Pg. 55
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 57 of 77 Page ID #:57


 POLICY NUMBER:                                                                             PRODUCERS PORTFOLIO


                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     ANIMAL COVERAGE (EXTRA EXPENSE)
 This endorsement modifies insurance provided under the following:

      MPTV PRODUCERS PORTFOLIO, SECTION III. EXTRA EXPENSE



 1.   The following Coverage Extensions are added to Part I. Coverage:


      a.   Animal Extra Expense Coverage
           This Coverage Extension applies only when Extra Expense Coverage is part of the policy.
           We will pay the actual and necessary loss you sustain as Extra Expense during the "Period of
           Restoration" due to the interruption, postponement or cancellation of an "Insured Production". The
           interruption, postponement or cancellation must be the direct result of a Covered Cause of Loss to a
           Covered Animal during the "Term of Coverage".
           Extra Expense, as used in this Coverage Extension, means the following expenses you incur that you
           would not have incurred had there been no interruption, postponement or cancellation of the "Insured
           Production":
           (1) Necessary additional "Costs" incurred to avoid or minimize the interruption, postponement or
               cancellation of the "Insured Production"; and
           (2) Necessary expenses incurred to the extent they reduce the amount of loss that otherwise would be
               payable under this Coverage.
           Extra Expense does not include:
           (1) Loss of earnings or profit;
           (2) Expense to repair or replace property, other than Covered Animals;
           (3) Expense payable under any other Coverage of this policy.
      b.   Covered Animals
           For the purposes of these Coverage Extensions, Covered Animal means the animal(s) scheduled below
           that are used or intended to be used in an "Insured Production":

                Animals

      c.   Covered Causes of Loss
           For the purposes of these Coverage Extensions, Covered Causes of Loss means accidental injury,
           Sickness or death to a Covered Animal after you accept a Certificate of Health signed by a duly licensed
           veterinarian. Until your acceptance, or in the absence of your acceptance, Covered Causes of Loss
           means only accidental injury or death resulting from accidental injury.
           Sickness means sickness, disease or illness resulting from any cause other than accidental injury.
           Certificate of Health Requirement is that certificate is on file with insured.
2.    Additional Exclusions
      We will not pay for loss caused by or resulting from any of the following:
      a.   Use of the animal in any activity other than in connection with the filming or taping of an "Insured
           Production";
      b.   Use of the animal in any stunt or hazardous activity;
      c.   Any cosmetic alteration of the animal;
      d.   Willful misconduct or misuse of the animal;
   e. Confiscation or nationalization of the animal for any reason whatsoever;
NS 106 0110                                                                                             Page 1 of 2   •



                                                                                                           Ex. A      Pg. 56
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 58 of 77 Page ID #:58


      f.   Quarantine, unless as a result of a Cause of Loss not otherwise excluded;
      g.   Intentional slaughter of the animal, either voluntarily or by act of or at the direction of any local authority;
           or This will not apply when an animal is sick and the Veterinarian recommendation is to slaughter the
           Covered Animal instead of attempting to provide sickness coverage.
      h.   Sickness of the animal as declared in the Certificate of health on file, regardless of any other cause or
           event that contributes concurrently or in any sequence to the loss.
 3.   Limits of Insurance
      The most we will pay for all loss to which these Coverage Extensions apply in any one occurrence is
      $1,000,000
      The limit applicable to these Coverage Extensions is in addition to the policy Limits of Insurance.
4.    Deductible
      The Deductible provisions described in the applicable Coverage form apply to this Coverage Extension.
 5.   Method of Valuation
      a.   Animal Cast Coverage
           The Method of Valuation described in the applicable Cast Coverage form applies to this Coverage
           Extension if accepted by us.
      b.   Animal Extra Expense Coverage
           For the purposes of this Coverage Extension, paragraphs V.a. and V.b. are replaced by the following:
           a.   The amount of your loss will be determined based on:
                (1) All "Costs" that exceeds the amount of "Costs" you would have incurred if there had been no
                    interruption, postponement or cancellation of the "Insured Production"; and
                (2) All other necessary expenses that reduce the amount of loss otherwise payable.
           b.   We will reduce the amount of your loss to the extent you can resume the "Insured Production" and
                discontinue Extra Expense or do not resume the "Insured Production" as quickly as possible.
                We will pay based on the length of time it would have taken to resume the "Insured Production" as
                soon as possible.
6.    Additional Conditions
      a.   Additional Duties In The Event of Loss
           (1) You must report immediately to us or our authorized representative any fact or circumstance which
               may prevent a Covered Animal from commencing, continuing or completing an assigned duty or role
               in an "Insured Production" and which may result in a claim under these Coverage Extensions.
           (2) You must immediately secure and file with us or our authorized representative the certification of a
               duly licensed veterinarian. The certification must include a complete description of the injury, sickness
               or death and the prognosis.
           (3) You must make every effort to preserve our rights, including enforcing any contractual conditions or
               terms applicable to the Covered Animal, to:
                (a) Have any Covered Animal examined by a veterinarian of our choice; and
                (b) Have continuing access to the medical records of any Covered Animal.
           (4) You must exercise due diligence and dispatch to secure a substitute animal, when and where
               available, following a Covered Cause of Loss to a Covered Animal.




NS 106 0110                                                                                                   Page 2 of 2     •



                                                                                                                Ex. A         Pg. 57
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 59 of 77 Page ID #:59


                                                                              MOTION PICTURE PORTFOLIO




                                   SECTION IV - PROPERTY

 Throughout this policy the words you and your refer to the Named Insured shown in the Declarations. The words
 we, us and our refer to the Company providing this insurance.



 I. INSURING AGREEMENT                                              declared and accepted by us and added to
 We agree to pay to you or on your behalf the value                 this policy. If watercraft involved in racing,
 of any property, not including loss of use, owned by               chase scenes, stunts or pyrotechnics, is not
 you or which is the property of others and for which               declared or accepted by us, a deductible of
 you are legally liable and which is lost, damaged or               $100,000 shall apply.
 destroyed, caused by the Perils Insured against,                   "Land Vehicles" or "Mobile Equipment" while
 while such property is used or to be used by you in                involved in racing, chase scenes, or stunts,
 connection with an Insured Production including:                   unless specifically added and endorsed to
     1.   Scenery, costumes, theatrical props and re-               this policy or when insured's production
          lated equipment;                                          team can provide evidence that Risk Safety
                                                                    controls and procedures are in place, using
     2.   Cameras, camera equipment, sound and                      qualified safety personnel, including stunt
          lighting equipment,    portable electrical                coordinators, local fire fighters, local police
          equipment, mechanical effects equipment,                  personnel and Risk Management signed off
          grip equipment and mobile equipment;                      on activity.
     3.   Office equipment, furniture, fixtures and ten-       Q   "Land Vehicles" you own valued in excess of
          ants improvements and betterments;                       $125,000 unless specifically added by an
     4.   Vehicles rented, hired or picture vehicles               endorsement to this policy or that are picture
          you own.                                                 vehicles owned by you while used or intend-
                                                                   ed to be used on-camera in an "Insured
                                                                   Production";
 II. PROPERTY NOT COVERED
                                                                10. Negative film, video tape, tapes, eels, trans-
 Covered Property does not include:                                 parencies, positives, sound tracks, art work,
     1.   Personal Property that is covered under any               software, programs or any other form of me-
          other Coverage of this policy;                            dia;
    2.    Animals;                                             11. The following property is excluded if the val-
                                                                   ue of the item(s) exceeds $500,000:
     3.   Growing plants except as part of a set;
                                                                    a) Furs, fur garments and garments trimmed
    4.    Accounts; bills; numismatic properties; food
                                                                        with fur except as added to this policy.
          stamps; notes; securities; stamps; deeds;
          evidences of debt; letters of credit; credit              b) Jewelry, costume jewelry, watched, watch
          cards; passports; transportation, admission                   movements, jewels, pearls, precious
          or other tickets, unless specifically added to                and semi-precious stones, bullion, gold,
          this policy;                                                  silver, platinum and other precious al-
                                                                        loys or metals except as provided in the
    5.    Buildings or their improvements and better-
                                                                        policy.
          ments, except as part of a set or the Insured
          Production Office.                                       c) Works of art, antiques or rate articles, in-
                                                                       cluding etchings, pictures, statuary,
    6.    Aircraft unless used as part of a set as a
                                                                       marbles, bronzes, porcelains and bric-a-
          non-functional craft during filming or taping;
                                                                       brac except as provided in the policy.
    7.    Watercraft valued over $750,000, and wa-
          tercraft involved in racing, chase scenes,
          stunts or pyrotechnics, unless specifically      III. TERM OF COVERAGE




NS 104 0110                                                                                           Page 1 of 3      •



                                                                                                        Ex. A         Pg. 58
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 60 of 77 Page ID #:60



 Term of Coverage, as used in this Coverage, means        We will not pay for loss or damage in any one occur-
 the period beginning one hundred eighty (180) days       rence until the amount of the adjusted loss or dam-
 before the date shown in the Declarations as the         age before applying the applicable limits of insur-
 start of "Principal Photography" or the start date of    ance exceeds the deductible amount shown in the
 principal photography which ever occurs first , and      Declarations. We will then pay the amount of the
 continuing until the earliest of the following dates:    adjusted loss or damage in excess of the deductible,
         (1) The date of delivery required under the      up to the applicable limit of insurance.
             completion guarantee agreement with
             the distributor(s);                          VI. PERILS INSURED
         (2) The date your completion guarantor is        This Coverage Section insures against all risks of
             released from further obligations to you;    direct physical loss or damage to the property cov-
         (3) Eighteen (18) months after completion        ered from any external cause, except as hereinafter
             of "Principal Photography";                  excluded.
         (4) The date on which a protection print or      VII. EXCLUSIONS
             duplicate tape has been completed and        This Coverage does not insure against loss or dam-
             physically removed from the premises         age caused by or resulting from:
             where the original negative or tape is lo-
             cated;                                                Wear and tear; any quality in the property
         (5) The date your interest in the property               that causes it to damage or destroy itself;
             ceases; or                                            hidden or latent defect; gradual deterioration;
                                                                   depreciation; mechanical breakdown or elec-
         (6) The date on which cancellation or termi-             trical breakdown; insects; vermin, or rodents;
             nation of coverage under this policy for
                                                                   corrosion, rust, dampness, cold or heat. This
             the "Insured Production" becomes effec-
                                                                   exclusion does not apply to Verifiable break-
             tive.
                                                                   down, short circuit, electrical injury, disturb-
The expiration date of this policy will be extended, if            ance or malfunction to Covered Personal
necessary, until the earliest of these dates. We may               Property or vehicles. Subject to props; cre-
charge additional premium for this extension.                     ated, constructed, designed or maintained by
                                                                  you must be tested and verified to be in
                                                                  working order under the conditions you will
IV. LIMITS OF INSURANCE                                           be using them.
    A. The most we will pay for loss or damage in                 Any work process, experimentation, repair-
       any one occurrence is the Limit of Insurance                ing, restoration, conversion, or partial con-
       shown in the Declarations for Property.                    version, retouching, painting, cleaning or any
    B. Subject to a. above, $500,000 is the most                  other form of process performed or under-
       we will pay for loss or damage to the follow-              taken by you or on your behalf or at your di-
       ing types of property:                                     rection, unless accidental fire or explosion
                                                                  ensues and then only for the loss or damage
        (1) Furs, fur garments        and    garments             caused by such ensuing fire or explosion.;
            trimmed with fur;                                     Unexplained or mysterious disappearance, or
        (2) Jewelry, costume jewelry, watches,                    shortage found upon taking of inventory;
            watch movements, jewels, pearls, pre-                 Rain, sleet, snow or hail, whether driven by
            cious and semi-precious stones, bullion,              wind or not, to property stored in the open.
            gold, silver, platinum and other precious             This exclusion does not apply to property that
            alloys or metals; and                                 was built or designed to be stored in the
        (3) Works of art, antiques or rare articles,              open;
                                                             5.   damage to or destruction of property caused
            including etchings, pictures, statuary,
            marbles, bronzes, porcelains and bric-a-              intentionally by you or at your direction;
            brac.                                                 loss, destruction or damage caused by or re-
                                                                  sulting from delay, loss of market, interrup-
This limit applies to any one occurrence, regardless              tion of business or other consequential loss
of the types or number of articles that are lost or               extending beyond direct physical loss or
damaged in that occurrence.                                       damage;

V. DEDUCTIBLE                                             VIII. VALUATION




Page 2 of 3                                                                                        NS104 0110         •



                                                                                                       Ex. A          Pg. 59
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 61 of 77 Page ID #:61


 The basis of determining the value of the property
 insured hereunder, except with respect to vehicles,
 will be as follows:
      1. Your property will be valued at the full cost of
          repair or replacement, without deduction for
          depreciation or betterment, if repaired or re-
          placed with due diligence and dispatch and in
          no event unless repair or replacement is
          completed within one year from the date of           C. Coverage is provided at the following loca-
          loss. If not repaired or replaced, the property         tions while:
          will be valued at its actual cash value at the
                                                                        1)   In locked safes and vaults secured
          time and the place of loss.
                                                                             on your premises and/or locations
      2. Property of others will be valued in accord-                        used as temporary production offic-
          ance with a written contract and in the ab-                        es and/or in hotel safes;
          sence of a written contract at common or fair
          market value or as you are obligated to pay                   2)   lln the custody of your approved
          by common law.                                                     agents in the course of and while
                                                                             performing their duties as agents;
      3. Vehicles will be valued at actual cash value
          as of the date and location of loss or in ac-                 3)   On your business premises during
          cord with a written contract.                                      the normal hours of business.
                                                                D. You warrant that you and your agents will
                                                                   secure money and currency overnight in
 IX. MONEY AND CURRENCY EXTENSION
                                                                   safes whenever available at locations other
     A. Coverage is extended for loss or destruction               than your business premises. Failure to ad-
        of money and currency subject to a sub-limit               here to this warranty will relieve us from all
        of liability of $250,000 any one loss arising              obligations under this coverage to the extent
        out of:                                                    that a loss is suffered or increased by that
             1)   Fire:                                            failure.
             2)   Burglary (defined as a loss, which            E. No loss attaches hereunder for loss of mon-
                  results from forcible entry to or exit           ey and currency arising out of mysterious or
                  from premises, safes or locked                   unexplained disappearance, or for shortage
                  property);                                       disclosed upon taking of inventory.
     B. Armed robbery (defined as the forcible tak-
        ing of money at gunpoint or by similar              X. DEFINITIONS
        threat);
                                                             "Precision Driving" means two or more "Land Vehi-
                                                            cles" or "Mobile Equipment" driving in unison, syn-
                                                            chronization or choreographed interation.




 NS 104 0110                                                                                         Page 3 of 3     •



                                                                                                       Ex. A        Pg. 60
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 62 of 77 Page ID #:62


 POLICY NUMBER:                                                                             PRODUCERS PORTFOLIO


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           ANIMAL COVERAGE (PROPERTY)
 This endorsement modifies insurance provided under the following:

      MPTV PRODUCERS PORTFOLIO, SECTION IV. COVERAGE PROPERTY



 1.   The following Coverage Extensions are added to I. INSURING AGREEMENT:
      a.   Animal Health Coverage
           We will pay the actual and necessary loss you sustain by reason of a Covered Cause of Loss to a
           Covered Animal during the "Term of Coverage".
      b.   Animal Repatriation, Rendering or Disposal Coverage
           We will pay the actual and necessary loss you sustain by reason of the necessary repatriation, rendering
           or disposal of a Covered Animal by reason of a Covered Cause of Loss during the "Term of Coverage".
           Any repatriation must have our prior written authorization.
      c.   Animal Loss of Use Coverage
           We will pay the actual and necessary loss you sustain by reason of a Covered Animal being prevented by
           a Covered Cause of Loss during the "Term of Coverage" from commencing, continuing or completing an
           assigned duty or role for a third party or parties.
      d.   For the purposes of these Coverage Extensions:
           (1) Covered Animals means the animal(s) scheduled below that are used or intended to be used in an
               "Insured Production";
           (2) Covered Causes of Loss means accidental injury, Sickness or death to a Covered Animal with a
               Certificate of Health signed by a duly licensed veterinarian on file with insured.
               Sickness means sickness, disease or illness resulting from any cause other than accidental injury.
2.    Additional Exclusions
      We will not pay for loss caused by or resulting from any of the following:
      a.   Use of the animal in any activity other than in connection with the filming or taping of an "Insured
           Production";
      b.   Use of the animal in any stunt or hazardous activity;
      c.   Any cosmetic alteration of the animal;
      d.   Failure to establish your legal liability for and the actual cash value of a Covered Animal;
      e.   Willful misconduct or misuse of the animal;
      f.   Confiscation or nationalization of the animal for any reason whatsoever;
      g.   Quarantine, unless as a result of a Cause of Loss not otherwise excluded;
      h.   Intentional slaughter of the animal, either voluntarily or by act of or at the direction of any local authority,
           This will not apply when an animal is sick and the Veterinarian recommendation is to slaughter the
           Covered Animal instead of attempting to provide sickness coverage.
      i.   Any sickness as described in the Certificate of Health.
3.    Limits of Insurance
           Each Animal Per Production
           The most we will pay for all loss to which these Coverage Extensions apply in any one animal is
           $250,000.
           The most we will pay for all loss to which these Coverage Extensions apply in any one occurrence is
           $1,000,000.


NS 110 0110                                                                                                   Page 1 of 3     •



                                                                                                                Ex. A         Pg. 61
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 63 of 77 Page ID #:63


 4.   Deductible
      Subject to the deductible amount shown in the Declarations or otherwise applicable with respect to each
      occurrence, we will not pay for loss caused by or resulting from a Covered Cause of Loss to a Covered
      Animal until the amount of the adjusted loss before applying the applicable limits of insurance exceeds the
      applicable deductible amount shown below. We will then pay the amount of the adjusted loss in excess of the
      deductible, up to the applicable limit of insurance.
      Deductible any one occurrence of $5,000.


 5.   Method of Valuation
      a.   We will determine the amount of your loss as follows:
           (1) Animal Health Coverage
               (a) Injury or Sickness of a Covered Animal
                    The amount of your loss for injury or sickness to a Covered Animal will be the actual and
                    necessary veterinary bills you incur.
               (b) Death of a Covered Animal
                    The value of a Covered Animal in the event of death will be the actual cash value of the animal,
                    as determined prior your using the animal(s). Covered animal(s) of others will be valued in
                    accordance with a written contract and in the absence of a written contract at common or fair
                    market value or as your are obligated to pay by common law.
           (2) Animal Repatriation, Rendering or Disposal Coverage
                    The amount of your loss for repatriation, rendering or disposal of a Covered Animal will be the
                    actual and necessary expenses you incur.
           (3) Animal Loss of Use Coverage
                   The amount of your loss by reason of a Covered Animal being prevented from commencing,
                   continuing or completing an assigned duty or role for a third party or parties will be the verifiable
                   loss on income the third party can prove that the Covered Animal is contracted or has earned in
                   income.
      b.   We will reduce the amount of your loss by any payments you receive from other insurance or any other
           source.
6.    Additional Conditions
      a.   Additional Duties In The Event of Loss
           (1) You must report immediately to us or our authorized representative any fact or circumstance which
               may prevent a Covered Animal from commencing, continuing or completing an assigned duty or role
               in an "Insured Production" and which may result in a claim under these Coverage Extensions.
           (2) You must immediately secure and file with us or our authorized representative the certification of a
               duly licensed veterinarian. The certification must include a complete description of the injury, sickness
               or death and the prognosis.
           (3) You must make every effort to preserve our rights, including enforcing any contractual conditions or
               terms applicable to the Covered Animal, to:
               (a) Have any Covered Animal examined by a veterinarian of our choice; and
               (b) Have continuing access to the medical records of any Covered Animal.
           WARRANTY
           It is warranted that your failure to comply with any of these conditions will prejudice us and will release us
           from any claim that involves such failure.
      b.   Legal Liability and Valuation
           You agree to determine:
           (1) The extent of your legal liability, and
           (2) The actual cash value of each Covered Animal prior to your first use of the Covered Animal.




NS 1100110                                                                                                   Page 2 of 3    •



                                                                                                               Ex. A        Pg. 62
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 64 of 77 Page ID #:64


        In the event you do not have: 6b. (1) and (2) above you will pay to have the valuation established by an
             independent animal(s) professional in the event of a loss.
   b.   Certificate of Health
        (1) You will have on file for each Covered Animal a signed Certificate of Health completed by a duly
            licensed veterinarian. The Certificate of Health must disclose:
            (a) Any medical condition that has been treated; or
            (b) Any medication that has been prescribed within one year prior to the date the Certificate of Health
                is completed.
        (2) The Covered Animal will be covered for Sickness on the date you receive the Certificate of Health.
            Until that time, the Covered Animal is covered only for the Causes of Loss of accidental injury or
            death resulting from accidental injury.
           Based on the medical information submitted to you, we and you have the right to make any
           reservation, exception or restriction regarding the insurability of the Covered Animal within a
           reasonable period of time. We will not pay for loss caused by or resulting from any such reservation,
           exception or restriction.




NS 1100110                                                                                            Page 3 of 3     •



                                                                                                         Ex. A        Pg. 63
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 65 of 77 Page ID #:65


                                                                           MPTV PRODUCERS PORTFOLIO
                                                                                        MP 204 (01-05)




             SECTION V THIRD PARTY PROPERTY DAMAGE
 I.   COVERAGE                                                    (5) Negative film, video tape, tapes, eels,
      We will pay those sums that the Insured                         transparencies, positives, sound tracks,
      becomes legally obligated to pay as damages                     art work, software, programs or any
      because of direct physical loss of or damage,                   other form of media; and
      including loss of use, to Covered Property,                 (6) Motor vehicles, trailers, aircraft or
      caused by accident and arising out of any                       watercraft, except for loss of use of such
      Covered Cause of Loss during the Term of                        property that is covered for direct
      Coverage. We will have the right and duty to                    physical damage under Section II,
      defend the Insured against any "Suit" seeking                   Coverage A. Props, Sets & Wardrobe or
      those damages. However, we will have no duty                    Section II, Coverage D. Miscellaneous
      to defend the Insured against any "Suit" seeking                Equipment of this policy.
      damages for direct physical loss or damage to
      which this insurance does not apply. We may,           c.   Covered Causes of Loss
      at our discretion, investigate and settle any claim         Covered Causes of Loss means risks of
      or "Suit" that may result. But:                             direct physical loss or damage to Covered
           (1) The amount we will pay for damages is              Property except those causes of loss listed
               limited, as described in Part III. - Limits        in the Exclusions.
               of Insurance; and                             d.   Additional Coverage
           (2) Our right and duty to defend ends when             Supplementary Payments
               we have used up the Limit of Insurance
                                                                  We will pay, with respect to any claim we
               in the payment of judgments and
                                                                  investigate or settle, or any "Suit" against an
               settlements.
                                                                  Insured we defend:
      a.   Covered Property, as used in this Coverage,
                                                                  (1) All expenses we incur.
           means tangible property of others in an
           Insured's care, custody or control that is             (2) The cost of bonds to release
           used or intended to be used in connection                  attachments, but only for bond amounts
           with an "Insured Production".                              within our Limit of Insurance. We do not
                                                                      have to furnish these bonds.
      b.   Property Not Covered
                                                                  (3) All reasonable expenses, other than
           Covered Property does not include:                         loss of earnings, incurred by the Insured
           (1) Personal property rented to or leased by               at our request.
               an Insured, except for loss of use of
                                                                  (4) All costs taxed against the Insured in the
               such property that is covered for direct
                                                                      "Suit".
               physical damage under Section II,
               Coverage A. Props, Sets & Wardrobe or              (5) Prejudgment interest awarded against
               Section II, Coverage D. Miscellaneous                  the Insured on that part of the judgment
               Equipment of this policy;                              we pay. If we make an offer to pay our
                                                                      Limit of Insurance, we will not pay any
           (2) Buildings and premises rented to or                    prejudgment interest based on that
               leased by an Insured for any use or                    period of time after the offer.
               purpose other than filming or taping in
               connection with an "Insured Production";           (6) All interest on the full amount of any
                                                                      judgment that accrues after entry of the
           (3) Any property that is involved in a                     judgment and before we have paid,
               hazardous activity or stunt, unless                    offered to pay, or deposited in court the
               approved by us in writing;                             part of the judgment that is within our
           (4) Animals;                                               Limit of Insurance.
                                                                  These payments will not reduce the Limit of
                                                                  Insurance.




MP 204 (01-05)                                                                                      Page 1 of 3      •



                                                                                                       Ex. A        Pg. 64
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 66 of 77 Page ID #:66


    e.   Coverage Extension                                           (6) The date on which cancellation or
         Who Is An Insured                                                termination of coverage under this policy
                                                                          for the "Insured Production" becomes
         Throughout this Coverage, the word                               effective.
         "Insured" includes you and each of the
         following:                                                   The expiration date of this policy will be
                                                                      extended, if necessary, until the earliest of
         (1) If you are a partnership or joint venture,               these dates. We may charge additional
             your members and partners, but only                      premium for this extension.
             with respect to the conduct of your
             business.                                     II.   ADDITIONAL EXCLUSIONS
         (2) If you are a limited liability company,             For the purposes of this Coverage, the following
             your members, but only with respect to              exclusions apply in addition to the exclusions
             the conduct of your business. Your                  described in Part V. of the Policy Conditions -
             managers are Insureds, but only with                Exclusions Applicable To All Coverages of This
             respect to their duties as your                     Policy.
             managers.
                                                                 We will not pay for loss or damage caused by or
         (3) If you are an organization other than a             resulting from any of the following:
             partnership, joint venture or limited
                                                                 a.   Intentional acts committed by or at the
             liability company, your executive officers
                                                                      direction of any Insured.
             and directors, but only with respect to
             their duties as your officers or directors.         b.   The failure of an Insured to provide
                                                                      reasonable care for Covered Property.
         (4) If you are a trust, your trustees, but only
             with respect to their duties as trustees.     III. LIMITS OF INSURANCE
         (5) Your "Employees", but only for acts                 The most we will pay in damages as the result of
             within the scope of their employment by             any one accident is the Limit of Insurance shown
             you or while performing duties related to           in the Declarations for Third Party Property
             the conduct of your business.                       Damage coverage.
         (6) Your "Volunteer Workers" or any other         IV. DEDUCTIBLE
             person under your direct control, but
                                                                 Our obligation to pay damages applies only to
             only while performing duties related to
                                                                 the amount of damages in excess of the
             the conduct of your business.
                                                                 deductible amount shown in the Declarations for
   f.    Term of Coverage                                        Third Party Property Damage Coverage. The
         Term of Coverage, as used in this                       deductible amount applies to all damages as the
         Coverage, means the period beginning sixty              result of any one accident, regardless of the
         (60) days before the date shown in the                  number of persons or organizations who sustain
         Declarations as the start of "Principal                 damages because of that accident.
         Photography", and continuing until the                  This deductible does not apply to a loss of use
         earliest of the following dates:                        claim for property that is covered for direct
         (1) The date of delivery required under the             physical loss or damage under any other
             completion guarantee agreement with                 Coverage of this policy.
             the distributor(s);                           V. AMENDED CONDITIONS
         (2) The date your completion guarantor is               a.   The following Policy Condition does not
             released from further obligations to you;                apply to this Coverage:
         (3) Eighteen (18) months after completion                    Condition lll.d. - Stop Date Loss
             of "Principal Photography";
                                                                 b.   Condition l.g. - Loss Payment is replaced by
         (4) The date on which a protection print or                  the following:
             duplicate tape of an "Insured
             Production" has been completed and                       (1) If two or more of this policy's coverages
             physically removed from the premises                         apply to the same loss or damage, we
             where the original negative or tape is                       will not pay more than the actual amount
             located;                                                     of the loss or damage.

         (5) The date your interest in the property                   (2) We will not be liable for any part of a
             ceases; or                                                   loss that has been paid or made good
                                                                          by others.




MP 204 (01-05)                                                                                            Page 2 of 3    •



                                                                                                            Ex. A       Pg. 65
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 67 of 77 Page ID #:67


 VI. ADDITIONAL CONDITION                                b.   "Leased worker" means a person leased to
    For the purposes of this Coverage, the following          you by a labor leasing firm under an
    Condition applies in addition to the Policy               agreement between you and the labor
    Conditions.                                               leasing firm, to perform duties related to the
    Legal Action Against Us                                   conduct of your business. "Leased Worker"
                                                              does not include a "Temporary Worker".
    The following is added to Policy Condition II.g. -
    Legal Action Against Us                              c.   "Suit" means a civil proceeding in which
                                                              damages to which this insurance applies are
         A person or organization may sue us to               alleged. "Suit" includes:
         recover on an agreed settlement or on a
         final judgment against an Insured; but we            (1) An arbitration proceeding in which
         will not be liable for damages that are not              damages are claimed and to which the
         payable under the terms of this Coverage or              Insured must submit or does submit with
         that are in excess of the Limit of Insurance.            our consent; or
         An agreed settlement means a settlement              (2) Any other alternative dispute resolution
         and release of liability signed by us, the               proceeding in which such damages are
         Insured, and the claimant or the claimant's              claimed and to which the Insured
         legal representative.                                    submits with our consent.
VII. ADDITIONAL DEFINITIONS                              d.   "Temporary Worker" means a person who is
    For the purposes of this Coverage, the following          furnished to you to substitute for a
    definitions apply in addition to the definitions          permanent "Employee" on leave or to meet
    described in Part IV. of the Policy Conditions -          seasonal or short-term workload conditions.
    Definitions Applicable To All Coverages of This      e.   "Volunteer Worker" means a person who is
    Policy:                                                   not your "Employee", and who donates his
    a.   "Employee" includes a "Leased Worker" and            or her work and acts at the direction of and
         a "Temporary Worker".                                within the scope of duties determined by
                                                              you, and is not paid a fee, salary or other
                                                              compensation by you or anyone else for
                                                              their work performed for you.




MP 204 (01-05)                                                                                  Page 3 of 3    •



                                                                                                  Ex. A        Pg. 66
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 68 of 77 Page ID #:68


 POLICY NUMBER:                                                            MPTV PRODUCERS PORTOLIO


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    STRIP SHOW COVERAGE EXTENSION
 This endorsement modifies insurance provided under the following:

     MPTV PRODUCERS PORTFOLIO


 STRIP SHOW COVERAGE

The only Coverage Sections applicable to Strip Shows, TV Specials and Webisodes are: General Conditions;
Section IV Property; Section V Third Party Property Damage; and any endorsements attached to these sections
only.




All other terms and conditions remain unchanged.




NS 108 0105                                                                                      Page 1 of 1   •



                                                                                                   Ex. A       Pg. 67
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 69 of 77 Page ID #:69


 POLICY NUMBER:                                                                 MPTV PRODUCERS PORTOLIO


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         HURRICANE, TORNADO & COUNTRY EXCLUSION
 This endorsement modifies insurance provided under the following:

     MPTV PRODUCERS PORTFOLIO

 A. WIND STORM EXCLUSION
 All Coverage Sections specifically exclude any claims caused or contributed to by a named windstorm in the
 following territories during the terms indicated unless endorsed hereon:

 Dates: 1 st of June through 301h November

 Territories of Virginia, Washington, DC, Georgia, North Carolina, South Carolina, Florida, Alabama, Arkansas,
 Louisiana, Texas: within 100 miles of the coast.

 Dates: 1 st of January through 30lh June

Territories of Hawaii, Indonesia, Australia, Asia, New Zealand, Philippines, Korea, and other Asia countries.


B. COUNTRY EXCLUSION
All Coverage Sections specifically exclude any claims in the following territories unless endorsed hereon:

      That is under trade or economic embargoes imposed by the laws or regulations of the United States of
      America. That has a Travel Warning as listed on travel.state.gov or is a country that is on the USA travel
      warning watch lists, terrorist watch lists or a USA sanctioned country, except as endorsed hereon.




All other terms and conditions remain unchanged.




NS 107 0105                                                                                            Page 1 of 1    •



                                                                                                         Ex. A       Pg. 68
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 70 of 77 Page ID #:70



                                                                                                      IL 09 35 07 02

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

  EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES
 This endorsement modifies insurance provided under the following:

    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL PROPERTY COVERAGE PART
    CRIME AND FIDELITY COVERAGE PART
    STANDARD PROPERTY POLICY


 A. We will not pay for loss ("loss") or damage caused          2. Any advice, consultation, design, evaluation,
    directly or indirectly by the following. Such loss             inspection, installation, maintenance, repair, re-
    ("loss") or damage is excluded regardless of any               placement or supervision provided or done by
    other cause or event that contributes concurrently             you or for you to determine, rectify or test for,
    or in any sequence to the loss ("loss") or damage.             any potential or actual problems described in
    1. The failure, malfunction or inadequacy of:                  Paragraph A.1. of this endorsement.
       a. Any of the following, whether belonging to         B. If an excluded Cause of Loss as described in Para-
          any insured or to others:                             graph A. of this endorsement results:
          (1) Computer hardware, including microproc-           1. In a Covered Cause of Loss under the Crime and
              essors;                                              Fidelity Coverage Part, the Commercial Inland
                                                                   Marine Coverage Part or the Standard Property
          (2) Computer application software;                       Policy; or
          (3) Computer operating systems and related            2. Under the Commercial Property Coverage Part:
              software;
                                                                     a. In a "Specified Cause of Loss", or in elevator
          (4) Computer networks;                                        collision resulting from mechanical break-
          (5) Microprocessors (computer chips) not                      down, under the Causes of Loss-Special
              part of any computer system; or                           Form; or
          (6) Any other computerized or electronic                   b. In a Covered Cause of Loss under the
              equipment or components; or                               Causes Of Loss - Basic Form or the Causes
       b. Any other products, and any services, data                    Of Loss - Broad Form;
          or functions that directly or indirectly use or       we will pay only for the loss ("loss") or damage
          rely upon, in any manner, any of the items            caused by such "Specified Cause of Loss", elevator
          listed in Paragraph A.1.a. of this endorse-           collision, or Covered Cause of Loss.
          ment;                                              C. We will not pay for repair, replacement or modifica-
       due to the inability to correctly recognize, proc-       tion of any items in Paragraphs A.1.a. and A.1.b. of
       ess, distinguish, interpret or accept one or more        this endorsement to correct any deficiencies or
       dates or times. An example is the inability of           change any features.
       computer software to recognize the year 2000.




IL 09 35 07 02                              © ISO Properties, Inc., 2001                                 Page 1 of 1     •



                                                                                                           Ex. A         Pg. 69
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 71 of 77 Page ID #:71



                                                                                                    IL 02 68 01 11

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NEW YORK CHANGES - CANCELLATION
                        AND NONRENEWAL
 This endorsement modifies insurance provided under the following:

    CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL PROPERTY COVERAGE PART
    CRIME AND FIDELITY COVERAGE PART
    EQUIPMENT BREAKDOWN COVERAGE PART
    FARM COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


A. Paragraphs 1., 2., 3. and 5. of the Cancellation                     (d) After issuance of the policy or after
   Common Policy Condition are replaced by the                              the last renewal date, discovery of
   following:                                                               an act or omission, or a violation of
                                                                            any      policy     condition,     that
    1. The first Named Insured shown in the
                                                                            substantially      and       materially
       Declarations may cancel this entire policy by
                                                                            increases     the    hazard    insured
       mailing or delivering to us advance written
                                                                            against,     and      that    occurred
       notice of cancellation.
                                                                            subsequent to inception of the
    2. Cancellation Of Policies In Effect                                   current policy period;
       a. 60 Days Or Less                                               (e) Material physical change in the
          We may cancel this policy by mailing or                           property insured, occurring after
          delivering to the first Named Insured written                     issuance or last annual renewal
          notice of cancellation at least:                                  anniversary date of the policy, that
                                                                            results in the property becoming
          (1) 30 days before the effective date of
                                                                            uninsurable in accordance with our
              cancellation if we cancel for any reason
                                                                            objective,     uniformly        applied
              not included in Paragraph A.2.a.(2)
                                                                            underwriting standards in effect at
              below.
                                                                            the time the policy was issued or last
          (2) 15 days before the effective date of                          renewed; or material change in the
              cancellation if we cancel for any of the                      nature or extent of the risk, occurring
              following reasons:                                            after issuance or last annual renewal
             (a) Nonpayment of premium, provided                            anniversary date of the policy, that
                 however, that a notice of cancellation                     causes the risk of loss to be
                 on this ground shall inform the first                      substantially      and        materially
                 Named Insured of the amount due;                           increased beyond that contemplated
                                                                            at the time the policy was issued or
             (b) Conviction of a crime arising out of
                                                                            last renewed;
                 acts increasing the hazard insured
                 against;                                               (f) Required        pursuant   to     a
                                                                            determination by the Superintendent
             (c) Discovery of fraud or material
                                                                            that continuation of our present
                 misrepresentation in the obtaining of
                                                                            premium volume would jeopardize
                 the policy or in the presentation of a
                                                                            our solvency or be hazardous to the
                 claim;
                                                                            interest of our policyholders, our
                                                                            creditors or the public;




IL 02 68 01 11                       © Insurance Services Office, Inc., 2010                          Page 1 of 5      •



                                                                                                         Ex. A         Pg. 70
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 72 of 77 Page ID #:72




              (g) A       determination       by      the    B. The following is added to the           Cancellation
                  Superintendent that the continuation          Common Policy Condition:
                  of the policy would violate, or would         7. If one of the reasons for cancellation in
                  place us in violation of, any provision          Paragraph A.2.a.(2) or D.2.b.(2) exists, we
                  of the Insurance Code; or                        may cancel this entire policy, even if the
              (h) Where we have reason to believe, in              reason for cancellation pertains only to a new
                  good faith and with sufficient cause,            coverage or endorsement initially effective
                  that there is a probable risk of                 subsequent to the original issuance of this
                  danger that the insured will destroy,            policy.
                  or permit to be destroyed, the             C. The following conditions are added:
                  insured property for the purpose of
                  collecting the insurance proceeds. If          1. Nonrenewal
                  we cancel for this reason, you may                If we decide not to renew this policy we will
                  make a written request to the                     send notice as provided in Paragraph C.3.
                  Insurance Department, within 10                   below.
                  days of receipt of this notice, to
                                                                2. Conditional Renewal
                  review our cancellation decision.
                  Also, we will simultaneously send a               If we conditionally renew this policy subject to:
                  copy of this cancellation notice to the           a. A change of limits;
                  Insurance Department.
                                                                    b. A change in type of coverage;
      b. For More Than 60 Days
                                                                    c. A reduction of coverage;
          If this policy has been in effect for more
                                                                    d. An increased deductible;
          than 60 days, or if this policy is a renewal or
          continuation of a policy we issued, we may                e. An addition of exclusion; or
          cancel only for any of the reasons listed in              f. Increased premiums in excess of 10%,
          Paragraph A.2.a.(2) above, provided:                         exclusive of any premium increase due to
         (1) We mail the first Named Insured written                   and commensurate with insured value
             notice at least 15 days before the                        added or increased exposure units; or as a
             effective date of cancellation; and                       result of experience rating, loss rating,
                                                                       retrospective rating or audit;
         (2) If we cancel for nonpayment of
             premium, our notice of cancellation                   we will send notice as provided in Paragraph
             informs the first Named Insured of the                C.3. below.
             amount due.                                        3. Notices Of Nonrenewal And Conditional
   3. We will mail or deliver our notice, including the            Renewal
      reason for cancellation, to the first Named                   a. If we decide not to renew this policy or to
      Insured at the address shown in the policy and                   conditionally renew this policy as provided
      to the authorized agent or broker.                               in Paragraphs C.1. and C.2. above, we will
   5. If this policy is cancelled, we will send the first              mail or deliver written notice to the first
      Named Insured any premium refund due. If we                      Named Insured shown in the Declarations
      cancel, the refund will be pro rata. If the first                at least 60 but not more than 120 days
      Named Insured cancels, the refund may be                         before:
      less than pro rata.                                             (1) The expiration date; or
      However, when the premium is advanced                           (2) The anniversary       date   if   this   is   a
      under a premium finance agreement, the                              continuous policy.
      cancellation refund will be pro rata. Under such
      financed policies, we will be entitled to retain a            b. Notice will be mailed or delivered to the first
      minimum earned premium of 10% of the total                       Named Insured at the address shown in the
      policy premium or $60, whichever is greater.                     policy and to the authorized agent or
      The cancellation will be effective even if we                    broker. If notice is mailed, proof of mailing
      have not made or offered a refund.                               will be sufficient proof of notice.




Page 2 of 5                            © Insurance Services Office, Inc., 2010                         IL 02 68 01 11       •



                                                                                                             Ex. A          Pg. 71
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 73 of 77 Page ID #:73




       c. Notice will include the specific reason(s) for    D. The following provisions apply when the
          nonrenewal       or   conditional    renewal,        Commercial Property Coverage Part, the Farm
          including the amount of any premium                  Coverage Part or the Capital Assets Program
          increase for conditional renewal and                 (Output Policy) Coverage Part is made a part of
          description of any other changes.                    this policy:
       d. If we violate any of the provisions of                1. Items D.2. and D.3. apply if this policy meets
          Paragraph C.3.a., b. or c. above by sending              the following conditions:
          the first Named Insured an incomplete or                 a. The policy is issued or issued for delivery in
          late conditional renewal notice or a late                   New York State covering property located
          nonrenewal notice:                                          in this state; and
         (1) And if notice is provided prior to the                b. The policy insures:
             expiration date of this policy, coverage
             will remain in effect at the same terms                 (1) For loss of or damage to structures,
             and conditions of this policy at the lower                  other than hotels or motels, used
             of the current rates or the prior period's                  predominantly for residential purposes
             rates until 60 days after such notice is                    and consisting of no more than four
             mailed or delivered, unless the first                       dwelling units; or
             Named Insured, during this 60-day                       (2) For loss of or damage to personal
             period, has replaced the coverage or                        property other than farm personal
             elects to cancel;                                           property or business property; or
         (2) And if the notice is provided on or after               (3) Against damages arising from liability for
             the expiration date of this policy,                         loss of, damage to or injury to persons
             coverage will remain in effect at the                       or property, except liability arising from
             same terms and conditions of this policy                    business or farming; and
             for another policy period, at the lower of
                                                                   c. The portion of the annual premium
             the current rates or the prior period's
                                                                      attributable   to   the     property   and
             rates, unless the first Named Insured,
                                                                      contingencies described in 1.b. exceeds the
             during this additional policy period, has
                                                                      portion applicable to other property and
             replaced the coverage or elects to
                                                                      contingencies.
             cancel.
                                                               2. Paragraph 2. of the Cancellation Common
      e. If you elect to renew on the basis of a late
                                                                  Policy Condition is replaced by the following:
         conditional renewal notice, the terms,
         conditions and rates set forth in such notice             2. Procedure And Reasons For
         shall apply:                                                 Cancellation
         (1) Upon expiration of the 60-day period,                    a. We may cancel this entire policy by
             unless Subparagraph (2) below applies;                      mailing or delivering to the first Named
             or                                                          Insured written notice of cancellation at
                                                                         least:
         (2) Notwithstanding    the    provisions  in
             Paragraphs d.(1) and d.(2), as of the                       (1) 15 days before the effective date of
             renewal date of the policy if the                               cancellation   if we      cancel for
             conditional renewal notice was sent at                          nonpayment of premium, provided
             least 30 days prior to the expiration or                        however, that a notice of cancellation
             anniversary date of the policy.                                 on this ground shall inform the first
                                                                             Named Insured of the amount due;
       f. We will not send you notice of nonrenewal
                                                                             or
          or conditional renewal if you, your
          authorized agent or broker or another                          (2) 30 days before the effective date of
          insurer of yours mails or delivers notice that                     cancellation if we cancel for any
          the policy has been replaced or is no longer                       other reason.
          desired.                                                    b. But if this policy:
                                                                         (1) Has been in effect for more than 60
                                                                             days; or




IL 02 68 01 11                        © Insurance Services Office, Inc., 2010                          Page 3 of 5     •



                                                                                                         Ex. A         Pg. 72
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 74 of 77 Page ID #:74




              (2) Is a renewal of a policy we issued;                b. Nonrenewal
              we may cancel this policy only for one or                 If, as allowed by the laws of New York
              more of the following reasons:                            State, we:
              (1) Nonpayment of premium, provided                      (1) Do not renew this policy; or
                  however, that a notice of cancellation               (2) Condition policy renewal upon:
                  on this ground shall inform the first
                  Named Insured of the amount due;                         (a) Change of limits; or
              (2) Conviction of a crime arising out of                     (b) Elimination of coverage;
                  acts increasing the risk of loss;                     we will mail or deliver written notice of
              (3) Discovery of fraud or material                        nonrenewal or conditional renewal:
                  misrepresentation in obtaining the                       (a) At least 45 days; but
                  policy or in making a claim;
                                                                           (b) Not more than 60 days;
              (4) Discovery of willful or reckless acts
                                                                        before the expiration date of the policy. We
                  or omissions increasing the risk of
                                                                        will mail or deliver our notice to the first
                  loss;
                                                                        Named Insured's last mailing address
              (5) Physical changes in the covered                       known to us. If notice is mailed, proof of
                  property that make that property                      mailing will be sufficient proof of notice.
                  uninsurable in accordance with our                    Delivery of the notice will be the same as
                  objective and uniformly applied                       mailing.
                  underwriting standards in effect
                                                              E. The following is added to the Farm Property -
                  when we:
                                                                 Other Farm Provisions Form -           Additional
                 (a) Issued the policy; or                       Coverages,     Conditions,   Definitions,     the
                 (b) Last voluntarily     renewed    the         Commercial Property Coverage Part and the
                     policy;                                     Capital Assets Program (Output Policy) Coverage
                                                                 Part:
              (6) The Superintendent of Insurance's
                  determination that continuing the              When the property is subject to the Anti-arson
                  policy would violate Chapter 28 of             Application in accordance with New York
                  the Insurance Law; or                          Insurance Department Regulation No. 96, the
                                                                 following provisions are added:
              (7) Required       pursuant     to      a
                  determination by the Superintendent            If you fail to return the completed, signed and
                  of Insurance that the continuation of          affirmed anti-arson application to us:
                  our present premium volume would               1. Or our broker or agent within 45 days of the
                  be hazardous to the interests of our              effective date of a new policy, we will cancel
                  policyholders, our creditors or the               the entire policy by giving 20 days' written
                  public.                                           notice to you and to the mortgageholder shown
   3. The following are added:                                      in the Declarations.
      a. Conditional Continuation                                2. Before the expiration date of any policy, we will
                                                                    cancel the policy by giving written notice to you
         Instead of cancelling this policy, we may                  and to the mortgageholder shown in the
         continue it on the condition that:                         Declarations at least 15 days before the
        (1) The policy limits be changed; or                        effective date of cancellation.
        (2) Any coverage not required by law be                  The cancellation provisions set forth in E.1. and
            eliminated.                                          E.2. above supersede any contrary provisions in
         If this policy is conditionally continued, we           this policy including this endorsement.
         will mail or deliver to the first Named                 If the notice in E.1. or E.2. above is mailed, proof
         Insured written notice at least 20 days                 of mailing will be sufficient proof of notice. Delivery
         before the effective date of the change or              of the notice will be the same as mailing.
         elimination. We will mail or deliver our
         notice to the first Named Insured's last
         mailing address known to us. If notice is
         mailed, proof of mailing will be sufficient
         proof of notice. Delivery of the notice will be
         the same as mailing.




Page 4 of 5                             © Insurance Services Office, Inc., 2010                        IL 02 68 01 11       •



                                                                                                             Ex. A         Pg. 73
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 75 of 77 Page ID #:75




 F. The following applies to the Commercial Property                (2) If you elect not to renew this policy, we
    Coverage Part, the Farm Coverage Part and the                       will   give written      notice to     the
    Capital Assets Program (Output Policy) Coverage                     mortgageholder. With respect to the
    Part:                                                               mortgageholder's        interest     only,
    Paragraphs f. and g. of the Mortgageholders                         nonrenewal will become effective on the
    Condition are replaced by the following:                            later of:

       f. Cancellation                                                 (a) The expiration date of the policy; or

         (1) If we cancel this policy, we will give                    (b) 10 days after we give notice to the
             written notice to the mortgageholder at                       mortgageholder.
             least:                                       G. The following provisions apply when the following
             (a) 10 days before the effective date of        are made a part of this policy:
                 cancellation if we cancel for your           Commercial General Liability Coverage Part
                 nonpayment of premium; or                    Employment-Related Practices Liability Coverage
            (b) 30 days before the effective date of          Part
                cancellation if we cancel for any             Farm Liability Coverage Form
                other reason.                                 Liquor Liability Coverage Part
         (2) If you cancel this policy, we will give          Products/Completed Operations Liability Coverage
             written notice to the mortgageholder.            Part
             With respect to the mortgageholder's
                                                              1. The aggregate limits of this policy as shown in
             interest only, cancellation will become             the Declarations will be increased in proportion
             effective on the later of:                          to any policy extension provided in accordance
            (a) The effective date of cancellation of            with Paragraph C.3.d. above.
                the insured's coverage; or
                                                              2. The last sentence of Limits Of Insurance does
            (b) 10 days after we give notice to the              not apply when the policy period is extended
                mortgageholder.                                  because we sent the first Named Insured an
       g. Nonrenewal                                             incomplete or late conditional renewal notice or
                                                                 a late nonrenewal notice.
         (1) If we elect not to renew this policy, we
             will  give written       notice to    the
             mortgageholder at least 10 days before
             the expiration date of this policy.




IL 02 68 01 11                      © Insurance Services Office, Inc., 2010                          Page 5 of 5     •



                                                                                                       Ex. A         Pg. 74
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 76 of 77 Page ID #:76



                                                                                                 IL 01 83 07 02

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         NEW YORK CHANGES - FRAUD
This endorsement modifies insurance provided urider the following:

   BOILER AND MACHINERY COVERAGE PART
   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   FARM COVERAGE PART - FARM PROPERTY - OTHER FARM PROVISIONS FORM - ADDITIONAL
   COVERAGES, CONDITIONS, DEFINITIONS
   FARM COVERAGE PART - MOBILE AGRICULTURAL MACHINERY AND EQUIPMENT COVERAGE
   FORM
   FARM COVERAGE PART - LIVESTOCK COVERAGE FORM

The CONCEALMENT, MISREPRESENTATION OR FRAUD Condition is replaced by the following:
FRAUD
We do not provide coverage for any insured ("insured") who has made fraudulent statements or engaged in
fraudulent conduct in connection with any loss ("loss") or damage for which coverage is sought under this policy.
However, with respect to insurance provided under the COMMERCIAL AUTOMOBILE COVERAGE PART, we
will provide coverage to such "insured" for damages sustained by any person who has not made fraudulent state-
ments or engaged in fraudulent conduct if such damages are otherwise covered under the policy.




IL 01 83 07 02                            © ISO Properties, Inc., 2001                              Page 1 of 1     •



                                                                                                       Ex. A        Pg. 75
Case 2:16-cv-04435-PA-MRW Document 1 Filed 06/20/16 Page 77 of 77 Page ID #:77



                                                                                                         IL 09 50 11 02

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       COVERAGE FOR CERTIFIED ACTS OF TERRORISM;
                    CAP ON LOSSES
 This endorsement modifies insurance provided under the following

    BOILER AND MACHINERY COVERAGE PART
    COMMERCIAL CRIME COVERAGE FORM
    COMMERCIAL CRIME POLICY
    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL PROPERTY COVERAGE PART
    EMPLOYEE THEFT AND FORGERY POLICY
    FARM COVERAGE PART
    GOVERNMENT CRIME COVERAGE FORM
    GOVERNMENT CRIME POLICY
    KIDNAP/RANSOM AND EXTORTION COVERAGE FORM
    KIDNAP/RANSOM AND EXTORTION POLICY
    STANDARD PROPERTY POLICY


A. Amendment                                                    B. Cap On Certified Terrorism Losses
    Any exclusion of terrorism in this Coverage Part or            With respect to any one or more "certified acts of
    Policy, or attached to such Coverage Part or Policy            terrorism" under the federal Terrorism Risk Insur-
    by endorsement, is hereby amended to the effect                ance Act of 2002, we will not pay any amounts for
    that such exclusion does not apply to a "certified             which we are not responsible under the terms of
    act of terrorism".                                             that Act (including subsequent action of Congress
    "Certified act of terrorism" means an act that is cer-         pursuant to the Act) due to the application of any
    tified by the Secretary of the Treasury, in concur-            clause which results in a cap on our liability for
    rence with the Secretary of State and the Attorney             payments for terrorism losses.
    General of the United States, to be an act of terror-       C. Application Of Other Exclusions
    ism pursuant to the federal Terrorism Risk Insur-              The terms and limitations of any terrorism exclu-
    ance Act of 2002. The criteria contained in that Act           sion, or the inapplicability or omission of a terrorism
    for a "certified act of terrorism" include the following:      exclusion, do not serve to create coverage for any
    1. The act resulted in aggregate losses in excess              loss which would otherwise be excluded under this
       of $5 million; and                                          Coverage Part or Policy, such as losses excluded
    2. The act is a violent act or an act that is danger-          by the Nuclear Hazard Exclusion or the War And
       ous to human life, property or infrastructure and           Military Action Exclusion.
       is committed by an individual or individuals act-
       ing on behalf of any foreign person or foreign in-
       terest, as part of an effort to coerce the civilian
       population of the United States or to influence
       the policy or affect the conduct of the United
       States Government by coercion.
    Further, the aforementioned exclusion does not ap-
    ply to an act which meets the criteria set forth in
    Paragraph 2. of the definition of "certified act of ter-
    rorism", when such act resulted in aggregate losses
    of $5 million or less.




IL 09 50 11 02                                  © ISO Properties, Inc., 2002                                Page 1 of 1      •



                                                                                                               Ex. A         Pg. 76
